                         Exhibit B

       2023 Labcorp Personal Choice
            Benefits Handbook




Case 2:24-cv-00807-NJ   Filed 06/28/24   Page 1 of 87   Document 1-2
 2023 Labcorp Personal
Choice Benefits Handbook
                        January 1, 2023




Case 2:24-cv-00807-NJ   Filed 06/28/24   Page 2 of 87   Document 1-2
Contents
Coverage At A Glance ...............................................................................................................................................4
Overview Section ......................................................................................................................................................9
 An Overview of Personal Choice ...........................................................................................................................9
 Who Is Eligible ....................................................................................................................................................10
 When Coverage Begins ......................................................................................................................................12
 Enrolling For Coverage .......................................................................................................................................13
 Delayed Coverage ..............................................................................................................................................13
 Changing Your Coverage During the Year ..........................................................................................................13
 When Coverage Ends .........................................................................................................................................14
 Reinstatement .....................................................................................................................................................15
 Continuation Coverage Under COBRA ...............................................................................................................15
 How You Pay for Coverage .................................................................................................................................17
Coordination of Benefits (COB)...............................................................................................................................18
 Coordination of Benefits Through the Medical Plan .............................................................................................18
 When You Become Eligible for Medicare Due to Age .........................................................................................19
 When You Become Eligible for Medicare Due to Disability .................................................................................19
 Coordination of Benefits Through the Labcorp Dental Plan .................................................................................19
 Qualified Medical Child Support Order ................................................................................................................21
HIPAA and Your Health Care Coverage ...................................................................................................................22
  Pre-Existing Conditions .......................................................................................................................................22
  Privacy Notice .....................................................................................................................................................22
Medical Coverage ...................................................................................................................................................22
Health Reimbursement Arrangement (HRA) ..........................................................................................................23
No Charge Laboratory Testing Benefit .....................................................................................................................24
Prescription Drug Coverage....................................................................................................................................27
Dental Coverage .....................................................................................................................................................36
Vision Coverage .....................................................................................................................................................37
  A Closer Look At How the Vision Plan Works .....................................................................................................38
  How to Access Vision Plan Benefits ....................................................................................................................38
  Other Important Information ................................................................................................................................39
  What the Labcorp Vision Plan Covers .................................................................................................................39
  What the Labcorp Vision Plan Does Not Cover ...................................................................................................40
Flexible Spending Accounts ....................................................................................................................................41
  A Closer Look At How the Flexible Spending Accounts Work .............................................................................42
  Health Care Flexible Spending Account ..............................................................................................................42
  Dependent Care Flexible Spending Account .......................................................................................................45
  Additional Information About Your Flexible Spending Accounts..........................................................................47
Comprehensive Disability Coverage .......................................................................................................................49
Life & Optional AD&D Insurance .............................................................................................................................62
   A Closer Look At Basic, Optional and Dependent Life and AD&D Insurance .....................................................63
   More About Your Life Insurance Coverages........................................................................................................64
   Business Travel Accident (BTA) Insurance .........................................................................................................67
   Naming Your Beneficiary .....................................................................................................................................69
   How to File a Claim .............................................................................................................................................69




                                                                                2
            Case 2:24-cv-00807-NJ                              Filed 06/28/24                   Page 3 of 87                  Document 1-2
Employee Stock Purchase Plan ..............................................................................................................................70
 A Closer Look At How the Labcorp ESPP Works ................................................................................................71
 Your Payroll Deduction........................................................................................................................................71
 How Shares Are Purchased ................................................................................................................................72
 Other Plan Provisions..........................................................................................................................................72
 Leaves of Absence..............................................................................................................................................73
 The TELUS Health Program ...............................................................................................................................74
 The Adoption Assistance Plan.............................................................................................................................75
 The Legal Assistance Plan ..................................................................................................................................76
Life Events ..............................................................................................................................................................78
Plan Administration .................................................................................................................................................80
  Plan Administration .............................................................................................................................................80
  Administrative Information ...................................................................................................................................80
  Claims Procedure ................................................................................................................................................84
  Your Rights Under ERISA ...................................................................................................................................85
ERISA Duties ................................................................................................................................................... 85




                                                                                  3
             Case 2:24-cv-00807-NJ                               Filed 06/28/24                   Page 4 of 87                   Document 1-2
Coverage At A Glance
                                                         BENEFIT PLAN
                   Medical Plans (Coverage                Dental Plans                     Vision Plans
                  Options Vary By Location)
Who's Eligible    Regular full-time or part-      Regular full-time or part-time   Regular full-time or part-time
                  time employees scheduled        employees scheduled to           employees scheduled to
                  to work at least 20 hours per   work at least 20 hours per       work at least 20 hours per
                  week; Employees who meet        week;                            week;
                  the Patient Protection and      Eligible dependents              Eligible dependents
                  Affordable Care Act (“ACA”)
                  definition of a full-time
                  employee;
                  Eligible dependents
When            New Hires and Their               New Hires and Their              New Hires and Their
Coverage Begins Dependents: First day of          Dependents: First day of         Dependents: First day of
                the month following date of       the month following date of      the month following date of
                employment                        employment                       employment
                Newly Eligible                    Newly Eligible                   Newly Eligible
                Dependents: The date of           Dependents: The date of          Dependents: The date of
                the Qualified Status Change       the Qualified Status Change      the Qualified Status Change
                event if reported within 30       event if reported within 30      event if reported within 30
                days of becoming eligible         days of becoming eligible        days of becoming eligible
When to Enroll    New Hires: Within 30 days       New Hires: Within 30 days        New Hires: Within 30 days
                  of initial hire date            of initial hire date             of initial hire date
                  Current Employees: Within       Current Employees: Within        Current Employees: Within
                  30 days of a Qualified          30 days of a Qualified Status    30 days of a Qualified Status
                  Status Change or during         Change or during Annual          Change or during Annual
                  Annual Benefits Enrollment      Benefits Enrollment              Benefits Enrollment
Who Pays Cost     Labcorp shares cost with        Labcorp shares cost with         Employees pay full cost with
for Coverage      employees; employees pay        employees; employees pay         before-tax dollars
                  with before-tax dollars         with before-tax dollars
Numbers & Web     Labcorp Medical Plan:           Cigna                            Vision Service Plan
Sites                                             1-800-854-7315                   1-800-877-7195
                  Aetna                           http://www.mycigna.com           http://www.vsp.com
                  1-800-223-7331
                  http://aetna.com

                  BCBS
                  1-833-466-0180
                  http://myhealthtoolkitnc.com
                  Plan LAG, select BlueCard
                  PPO Network

                  Cigna
                  1-800-854-7315
                  http://www.mycigna.com
                  Select Open Access Plus,
                  OA Plus, Choice Fund
                  OA Plus Network

                  UnitedHealthcare
                  1-800-791-9353



                                                     4
       Case 2:24-cv-00807-NJ            Filed 06/28/24          Page 5 of 87          Document 1-2
        http://www.myuhc.com/
        groups/labcorp
        Select the Choice Plus
        Network

        Prescription Drug
        Coverage:
        OptumRx
        1-888-691-0169

        Optum RX Specialty
        Pharmacy
        855-427-
        4682http://www.optumrx.com




                                     5
Case 2:24-cv-00807-NJ       Filed 06/28/24   Page 6 of 87   Document 1-2
                     Flexible Spending              No Charge Laboratory            Disability (STD & LTD)
                      Accounts (FSAs)                  Testing (NCLT)
Who's Eligible   Regular full-time or part-    All employees                      Regular full-time or part-time
                 time employees scheduled                                         employees scheduled to
                 to work at least 20 hours per                                    work at least 20 hours per
                 week                                                             week
When Coverage    First day of the month          First day of work                First day of the month
Begins           following date of                                                following date of
                 employment                                                       employment*

When to Enroll   New Hires: Within 30 days       New Hires: Within 30 days        New Hires: Within 30 days
                 of initial hire date            of initial hire date             of initial hire date
                 Current Employees: Within       Current Employees: Within        Current Employees: Within
                 30 days of a Qualified          30 days of a Qualified Status    30 days of a Qualified Status
                 Status Change or during         Change or during Annual          Change or during Annual
                 Annual Benefits Enrollment      Benefits Enrollment              Benefits Enrollment
Who Pays Cost    Employees contribute            Labcorp provides at no cost      Labcorp shares the cost with
for Coverage     before-tax dollars              to employees and eligible        employees or employees
                                                 dependents                       can choose to pay 100% of
                                                                                  the cost; employees use
                                                                                  after-tax dollars
Numbers & Web    PeopleCare                    Benefits Central                   New York Life Benefits
Sites            1-888-800-4002                                                   Solutions
                 Optum Financial                                                  1-800-644-5567
                 https://optumfinancial.com/la                                    http://myNYLGBS.com
                 bcorp

                    Basic Life Insurance           Optional Life Insurance         Dependent Life Insurance
Who's Eligible   Regular full-time or part-      Regular full-time or part-time   Spouse/Domestic
                 time employees scheduled        employees scheduled to           Partner and eligible children
                 to work at least 20 hours per   work at least 20 hours per
                 week                            week
When Coverage    First day of the month          First day of the month           First day of the month
Begins           following date of               following date of                following date of
                 employment*                     employment, provided you         employment, provided you
                                                 enroll and meet any              enroll and your dependent
                                                 evidence of good health          meets any evidence of good
                                                 rules*                           health rules*
When to Enroll   Automatic                       New Hires: Within 30 days        New Hires: Within 30 days
                                                 of initial hire date             of initial hire date
                                                 Current Employees: Within        Current Employees: Within
                                                 30 days of a Qualified Status    30 days of a Qualified Status
                                                 Change or during Annual          Change or during Annual
                                                 Benefits Enrollment              Benefits Enrollment
Who Pays Cost    Labcorp pays full cost of       Employees pay full cost with     Employees pay full cost with
for Coverage     coverage                        after-tax dollars                after-tax dollars
Numbers & Web    Contact PeopleCare              Contact PeopleCare               Contact PeopleCare
Sites            1-888-800-4002 or visit the     1-888-800-4002 or visit the      1-888-800-4002 or visit the
                 website www.prudential.com      website www.prudential.com       website www.prudential.com




                                                    6
       Case 2:24-cv-00807-NJ              Filed 06/28/24       Page 7 of 87          Document 1-2
                 Optional AD&D Insurance         Employee Stock Purchase              TELUS Health EAP
                                                      Plan (ESPP)
Who's Eligible   Regular full-time or part-      Employees who reach age of       Regular full-time or part-time
                 time employees scheduled        majority in their resident       employees scheduled to
                 to work at least 20 hours per   state, who work more than        work at least 20 hours per
                 week                            20 hours per week and who        week and eligible
                                                 have completed six months        dependents
                                                 of service as of the first day
                                                 of the Offering Period
When Coverage    First day of the month          Any January 1 or July 1 after First day of work
Begins           following date of               you meet age and service
                 employment*                     requirements
When To Enroll   New Hires: Within 30 days Complete enrollment no later Automatic
                 of initial hire date       than 15 days before the start
                 Current Employees: Within of an Offering Period
                 30 days of a Qualified
                 Status Change or during
                 Annual Benefits Enrollment
Who Pays Cost    Employees pay full cost with Employees pay full cost at     Labcorp pays full cost of
for Coverage     after-tax dollars            discounted rate with after-tax coverage
                                              dollars
Numbers and      Contact PeopleCare              Fidelity Stock Plan Services     TELUS Health
Web sites        1-888-800-4002                  1-800-544-9354                   1-888-319-0755
                                                 http://www.netbenefits.          http://login.TELUS Health.com
                                                 fidelity.com/




                                                    7
       Case 2:24-cv-00807-NJ              Filed 06/28/24       Page 8 of 87          Document 1-2
                                                    Adoption Assistance Plan
Who's Eligible      Regular full-time or part-time employees scheduled to work at least 20 hours per week
When Coverage       First day of work
Begins
When to Enroll      Automatic
Who Pays Cost       Labcorp pays full cost of coverage
for Coverage
Numbers & Web       TELUS Health
Sites               1-888-319-0755
                    http://login.TELUS Health.com

                                                      Legal Assistance Plan
Who's Eligible      Regular full-time or part-time employees scheduled to work at least 20 hours per week
When Coverage       First day of the month following date of employment*
Begins
When to Enroll      New Hires: Within 30 days of initial hire date
                    Current Employees: Within 30 days of a Qualified Status Change or during Annual
                    Benefits Enrollment
Who Pays Cost       Employees pay full cost with after-tax dollars
for Coverage
Numbers & Web       MetLife Legal Plans, Inc
Sites               1-800-821-6400
                    http://www.info.legalplans.com/4480010
* Provided you are actively at work on that day; otherwise, benefits begin when you return to work on a
regularly scheduled basis.




                                                      8
       Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 9 of 87        Document 1-2
Overview Section
This information is part of your Personal Choice Benefits Handbook for 2023, which constitutes the summary
plan description (SPD) for the Labcorp health and welfare and retirement plans offered through the Labcorp
Personal Choice Benefits Program subject to the Employee Retirement Income Security Act of 1974 (ERISA),
the federal law that governs certain employee benefit plans. The Handbook provides only a summary of the
plans as in effect on January 1, 2023 for employees of Labcorp on or after January 1, 2023. In the event of any
conflict between information contained in this Handbook and the official Plan documents, the official Plan
documents govern.
This Handbook does not establish enforceable employee rights, contractual or otherwise, and does not
establish an employment relationship enforceable by employees. The provisions of the Handbook do
not constitute a contract and are subject to change at any time without notice (except as otherwise required by
law). Nothing in this Handbook or any other publication from Labcorp shall interfere with or limit in any way the
right of Labcorp to terminate any employee’s employment without cause or notice at any time, confer upon any
employee any right to continue employment with Labcorp, or change an employee’s existing at-will employment
status. You remain an employee at-will, which status may be changed only by an authorized Labcorp
representative in writing.
For information about eligibility, enrolling for coverage, paying for coverage, when your coverage starts
and stops and other important information, see An Overview of Personal Choice in this Handbook.
Labcorp reserves the right to change, suspend or terminate any benefits and any plan at any time. The
information in this 2023 Handbook supersedes and replaces all prior summary plan descriptions, program
summaries, communications, whether oral or written, or other information relating to the plans, benefits and
programs. Separate summary plan descriptions describe the provisions of the Medical Plan applicable to other
groups of employees.


An Overview of Personal Choice
How much do you earn? At Labcorp, you take home more than your paycheck. You receive a Total
Compensation package that includes not only your base pay, but benefits that provide medical coverage, income
protection if you become disabled, life insurance and retirement savings.
Personal Choice provides optional benefits as well as some basic levels of benefit protection that Labcorp
automatically provides for eligible employees at no cost to employees.
Other Medical Plan options may be available based on your geographic location. Please contact PeopleCare at
888-800-4002 for more details and for what Medical Plan options are available in your area.




                                                       9
       Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 10 of 87         Document 1-2
Who Is Eligible
Employees
In general, you are eligible to participate in the Labcorp Personal Choice benefits program if you are a full-time
or part-time employee who is regularly scheduled to work at least 20 hours each week. Any difference in the
eligibility requirements for a particular benefit is described in the separate section of this Handbook for that
benefit.
You will lose eligibility for most Labcorp benefits if you change status (for example, if you move to “casual” or
“call-in” status) or if you leave Labcorp, even if you later return to Labcorp.
The Patient Protection and Affordable Care Act (“ACA”) requires employers to offer medical plan coverage to
employees who qualify as full-time employees as defined by ACA. Full-time employees under ACA are those
who work on average 30 or more hours per week, the monthly equivalent of which is 130 or more hours per
month. Rules have been issued by government agencies that employers can use to determine which of its
employees are full-time employees under ACA, including the development of a look back measurement method
to determine full-time employee status for a prospective period of coverage. Employees who meet the ACA full-
time employee definition will be notified and will be given the opportunity to elect medical coverage only.

Dependents
When you enroll yourself in Labcorp benefit plans, you may also cover your eligible dependents for medical, no
charge laboratory testing, dental, vision, dependent life insurance and AD&D insurance coverage. Eligible
dependents include your:
        •    legal spouse,
        •    domestic partner,
        •    children up to the last day of the year in which they turn age 26 regardless of their student status,
             marital status, financial support provided by the employee, or residency, and
        •    adult disabled child.

Your “legal spouse” means your lawful opposite-sex spouse or lawful same-sex spouse. Your same-sex
spouse is your legal spouse if you were married in the US, or a foreign jurisdiction that permits same-sex
marriage, regardless of your current state of residence. If you are in a domestic partnership or civil union
partnership that is not recognized as a marriage for State law purposes, your partner is not recognized as a
spouse.

To cover a same-sex or opposite-sex domestic partner, you must meet all the following requirements:
    •       Be in an exclusive, committed relationship with your partner that is expected to last indefinitely,
    •       Be living in the same household as your partner,
    •       Be responsible for your partner's welfare (or vice versa) on a continuing basis,
    •       You and your partner must not be of an age or degree of relationship that would prohibit legal
            marriage,
    •       Neither you nor your partner may be married to anyone else, and
    •       Neither you nor your partner may have had a different domestic partner in the past 90 days (except in
            the case of death). The life insurance policy requires 12-months cohabitation to be eligible.

Definition of Domestic Partner:
Satisfies the requirements for being a domestic partner, registered domestic partner or party to civil union under
the law of your jurisdiction of residence OR is a person of the same or opposite sex who satisfies ALL of the
following:
     •       Is age 18 or older; and
     •       Is not related to you by blood or a degree of closeness that would prohibit marriage in the law of the
             jurisdiction in which you reside; and
     •       Is not married to another person under statutory or common law nor in a domestic partnership,
             registered domestic partnership or civil union with another person; and
     •       Has shared a single permanent residence with you for at least 12 consecutive months; and
                                                            10
            Case 2:24-cv-00807-NJ             Filed 06/28/24          Page 11 of 87          Document 1-2
     •    Is mentally competent to consent to contract; and
     •    Is financially interdependent with you

Children means:

     •    natural children,
     •    children for whom you or your spouse/domestic partner have legal custody or legal guardianship,
     •    legally adopted children, or
     •    stepchildren.
You may cover children up to the end of the year in which they reach the age of 26 who are lawfully placed
with you while waiting to be legally adopted.
Unless otherwise specified in the plan documents, benefits for a dependent child continue until the last day of
the year in which he or she reaches the Plan's age limit requirements.

Adult Disabled Child
A child who is age 26 or older and is permanently and totally disabled will still be eligible for coverage if the
following conditions are met:

     •    the child became permanently and totally disabled before age 26
     •    you or your spouse/domestic partner remain eligible for Labcorp benefits,
     •    you submit proof of your child's continued disability as requested, and
     •    you pay any required contributions.

You may be required to provide proof of dependent eligibility by providing, for example, tax returns, marriage
certificate, birth certificate, court order, adoption papers, or certificate or affidavit of common law marriage. The
plan administrator, in its sole discretion, will make the final determination as to whether a child qualifies as
“permanently and totally disabled.”


 WHEN YOU AND A BENEFITS ELIGIBLE DEPENDENT BOTH WORK FOR LABORATORY
 CORPORATION OF AMERICA HOLDINGS OR ONE OF ITS SUBSIDIARIES
Please keep in mind that the following limitations apply to your medical, dental, and vision coverage if you
and your eligible dependent both work for the Company:
     •    If you and your spouse/domestic partner both work for the Company,
          you may not be covered as both an employee and as your
          spouse’s/domestic partner’s dependent.
     •    If a child is eligible for coverage by more than one employee,
          only one employee may cover the child.
     •    If you and your adult child both work for the Company, your adult child
          may not be covered as both an employee and as your dependent.




                                                          11
         Case 2:24-cv-00807-NJ              Filed 06/28/24          Page 12 of 87          Document 1-2
When Coverage Begins
For You
If you are a full-time or part-time employee regularly scheduled to work at least 20 hours each week, your
coverage begins on the first day of the month following your date of employment, provided you have completed
your enrollment within 30 days after you begin work. After your initial enrollment, you will have the opportunity
to change your benefit plan coverage each year during the Annual Benefits Enrollment period or after a
Qualified Status Change as defined below. If you are a part-time employee and you are transferred to a full-
time employee status, your original date of hire will be used to determine whether or not you have satisfied the
waiting period for benefits.
You are automatically eligible for the following benefits with no waiting period:

•   TELUS Health Employee Assistance Program
•   No Charge Laboratory Testing Benefit
Once eligible for benefits, you are automatically covered by the following benefit plans:
• Basic Life Insurance
• Business Travel Accident Insurance
• Employee Assistance Program
• Basic Disability Plan
• Adoption Assistance Program
If you do not complete your enrollment within 30 days of employment, you will have no benefit coverage for the
benefits listed below until either (1) you experience a Qualified Status Change during the calendar year (See
Changing Your Coverage During the Year) or (2) January 1 following your election to enroll in coverage made
during Annual Benefits Enrollment which is normally held in the Fall:

•   Medical (including prescription drug)
•   Dental
•   Vision
•   Flexible Spending Accounts (health and dependent care)
•   Optional Life
•   Dependent Life
•   Optional Accidental Death & Dismemberment
•   Enhanced Long-term Disability
•   Legal Assistance
•   Voluntary Benefits
The Employee Stock Purchase Plan and 401(k) Plan are subject to different eligibility and participation rules.

For Your Dependents
Your eligible dependents may become covered for medical, no charge laboratory testing, dental, vision,
dependent life, or optional AD&D Insurance coverage at the same time as you, provided you complete your
enrollment as described above.




                                                         12
        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 13 of 87            Document 1-2
Enrolling For Coverage
If you are enrolling for the first time as a new employee or as a newly eligible employee, you must complete the
enrollment process. It is very important that you complete this process.
Your enrollment also gives Labcorp permission to deduct your portion of the cost of coverage from your
paychecks.


Delayed Coverage
If you are absent from work on the date your Disability, Life Insurance, AD&D Insurance, and Legal Assistance
Plan coverage are scheduled to begin, coverage will begin on the date you return to work on a regularly
scheduled basis.
If an eligible dependent is confined at home, in a hospital or elsewhere, or is not performing normal daily
activities on the date coverage is due to begin, Dependent Life and Optional AD&D Insurance for this
dependent begins on the date the confinement ends or normal activities resume.


Changing Your Coverage During the Year
It is important for you to know that once you have enrolled in medical, no charge laboratory testing, dental,
vision, life insurance, AD&D, disability, legal assistance plan or FSA coverage, you may not add, drop or
change the coverage for yourself or your dependents until either (1) the beginning of the next calendar year or
(2) after you have had a Qualified Status Change as described below. The coverage changes you make must
be consistent with the Qualified Status Change that occurs. If your election is requested within 30 days (60
days in the case of loss of coverage or eligibility for a state premium assistance subsidy under Medicaid or a
state child health program), it will become effective as of the date of the Qualified Status Change. If you request
a change in coverage within 30 days (or 60 days, if applicable) of the Qualified Status Change, Labcorp pays
the cost of any coverage added from the date of the Qualified Status Change to the date your request is made.
If you fail to request coverage changes within the 30 or 60 days permitted, you may not change your coverage
until the next Annual Benefits Enrollment (or other Qualified Status Change, if earlier).
If you have a change of family or employment status that results in a loss of coverage (Qualified Status
Change), you may change your coverage or add or drop one or more dependents following the Qualified Status
Change.
A Qualified Status Change includes:

•   You change your legal marital status, which includes marriage, death of your spouse, divorce, legal
    separation or annulment, or change in domestic partner status.
•   Your dependents change due to birth, adoption, placement for adoption or death of the dependent.
•   You decline coverage for yourself and/or a dependent in writing when originally offered because you have
    continuation coverage under a prior employer's plan, and the continuation coverage under the prior
    employer's plan ceases (either because the continuation coverage was COBRA coverage and the COBRA
    continuation period has ended, or because the continuation coverage was not COBRA coverage and you
    or your dependent lost eligibility for the coverage or the prior employer stopped contributing toward the
    coverage).
•   Your spouse/domestic partner or your dependents commence or cease to meet the eligibility requirements
    under another employer's plan because of a change in employment status (such as a spouse's change
    from hourly to salaried employment, or from a covered position to a non-covered position).
•   You, your spouse/domestic partner or your dependents terminate or commence employment.
•   You, your spouse/domestic partner or a dependent reduce or increase hours of work.
•   A dependent ceases to satisfy the requirements for coverage due to attainment of age.
•   You, your spouse/domestic partner or your dependents move to a location outside of your current network.
•   You, your spouse/domestic partner or your dependents become entitled to coverage under Part A or Part B
    of Medicare or Medicaid.



                                                        13
        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 14 of 87         Document 1-2
•   You, your spouse/domestic partner or your dependents commence or return from an unpaid leave of
    absence such as Family and Medical Leave or military leave.
•   You or your spouse/domestic partner receives a court order to provide coverage for your child.
•   Your spouse/domestic partner or dependent is employed by an employer that allows a person to elect
    health benefits on a before-tax basis, and your spouse/domestic partner or dependent changes coverage
    under the other employer's plan during an annual benefits enrollment period or a permitted election change
    period that occurs during a calendar year.
•   You enroll in a qualified health plan through a federal or state Marketplace during the Marketplace’s annual
    enrollment period or during a special enrollment period available in the Marketplace
•   You terminate employment and are rehired by Labcorp more than 31 days after your termination.
•   You or your spouse/domestic partner or dependent experience a significant termination of medical, dental
    or vision coverage.
•   Your spouse/domestic partner or dependent experiences a significant increase in the cost of their
    coverage.
•   Your spouse/domestic partner or dependent starts or returns from a strike or lockout.
If you experience a Qualified Status Change, be sure to go online to the Benefits Enrollment System or call the
PeopleCare Advocacy Center to report the change right away. You only have 30 days (60 days in the case of
loss of coverage or eligibility for a state premium assistance subsidy under Medicaid or a state child health
plan) from the date of your Qualified Status Change to make changes to your benefit coverages that are
consistent with the Qualified Status Change. You may be required to submit supporting documentation to
PeopleCare upon request. You can contact PeopleCare at 1-888-800-4002 Monday - Friday 8 a.m. to 8 p.m.
ET.
No changes to your benefits will be permitted after 30 days (60 days in the case of loss of coverage or eligibility
for a state premium assistance subsidy under Medicaid or a state child health plan) from the Qualified Status
Change until the next Annual Benefits Enrollment.


When Coverage Ends
The following describes when your and/or your dependent’s benefit coverage ends:

•   you transfer to an employment category that is not eligible to participate in a benefit plan,
•   a plan is terminated,
•   you cease to make required contributions,
•   your spouse or domestic partner legally ceases to be your spouse or domestic partner, or
•   you have been in a leave of absence status for a period of more than 6 months. Note: persons who have
    been in a leave of absence status due to a disability do not lose coverage under the Disability Plan.
If your employment ends for any reason, your benefits will end at midnight on the last day of the month during
which you leave Labcorp.
Your STD coverage terminates if your employment terminates for any reason and your LTD coverage
terminates if your employment terminates for any reason other than disability.
In general, coverage for your children ends when your coverage ends or at the end of the calendar year in
which they reach age 26, whichever occurs first.
Coverage for you and your dependents will also end if you elect to cancel coverage during an Annual Benefits
Enrollment event. Changes made during the Annual Benefits Enrollment event are effective the following
January 1.
Coverage for the TELUS Health Employee Assistance Plan, including counseling sessions, is available to
employees and eligible dependents for up to 90 days after the employee’s termination of employment.




                                                        14
        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 15 of 87          Document 1-2
Reinstatement
If you are rehired within 31 days after your employment terminates for any reason, your benefit coverages,
including your before-tax elections, will be reinstated automatically. You will not have to satisfy the waiting
period for any benefit plan and any claims incurred during your absence will be processed under the terms of
the applicable plans.

Continuation Coverage Under COBRA
Under the Consolidated Omnibus Budget Reconciliation Act (COBRA), loss of coverage resulting from certain
“qualifying events” will result in continued eligibility for the Medical, Dental, Vision, No Charge Laboratory
Testing, and Health Care Flexible Spending Account Plans if you elect and pay for the coverage as described
in this section. Your spouse/domestic partner and children may have the right to continue their coverage even if
you do not elect to continue your own coverage. This continued coverage also applies to children born to, or
placed for adoption with, an employee during this continuation coverage. An individual who participates in
COBRA is known as a qualified beneficiary.
You may elect COBRA continuation for yourself and/or your eligible dependents if your coverage ends due to:
1.   your termination of employment with Labcorp (for reasons other than gross misconduct),
2.   reduction in your work hours.
Your spouse, domestic partner or other dependent may elect COBRA continuation coverage if coverage ends
due to:
1.   your death,
2.   your divorce or legal separation or your domestic partner ceases to be your domestic partner,
3.   your dependent child no longer meeting the eligibility requirements for coverage,
4.   your becoming entitled to Medicare (and you choose to drop Labcorp's coverage on your dependents),
5.   your termination of employment with Labcorp (for reasons other than gross misconduct),
6.   reduction in your work hours.
Your dependent child, including a child born to or placed for adoption with you during your COBRA continuation
coverage, is also eligible for COBRA continuation coverage if coverage ends due to:
1.   your dependent child no longer meets the eligibility requirements for coverage,
2.   your divorce or legal separation or your domestic partner ceases to be your domestic partner,
3.   your termination of employment with Labcorp (for reasons other than gross misconduct),
4.   reduction in your work hours,
5.   your death.
Qualified beneficiaries who elect COBRA continuation coverage are able to make changes to their health care
coverage during the Annual Benefits Enrollment period.

Electing COBRA Coverage
If any of the following events occur, the COBRA Administrator will notify you, your spouse/domestic partner
and/or your covered dependents of the right to elect COBRA coverage:

•    You terminate employment with Labcorp,
•    Your hours are reduced so that you are no longer eligible for coverage under the Labcorp group health
     plans,
•    You die.
It is your dependent’s responsibility to notify the COBRA Administrator at 1-888-800-4002 within 60 days of any
of the following events:

•    You divorce or become legally separated,
•    Your domestic partner ceases to be your domestic partner,
•    Your adult dependent turns age 26, or
•    Your child ceases to meet the definition of child under the Plan.

                                                         15
        Case 2:24-cv-00807-NJ               Filed 06/28/24        Page 16 of 87        Document 1-2
If the COBRA Administrator is not notified within 60 days of any of these events, any dependent who loses
coverage because of any of these events will lose their right to elect COBRA coverage.
The COBRA Administrator will provide a notice describing COBRA coverage and the requirements to elect
coverage.

Length of Election Period
COBRA continuation coverage must be elected no later than 60 days from the date on the election notice or
the date on which coverage is lost, whichever is later.

Terms of Continuation Coverage
•   If elected, COBRA continuation coverage is identical to the coverage provided to similarly situated
    employees.
•   If your employment ends after Annual Benefits Enrollment, but before January 1, any elections you made
    to change your coverage during Annual Benefits Enrollment will be cancelled. You will be mailed a special
    enrollment package for COBRA continuation coverage that allows you to elect continuation of your current
    coverage through COBRA and to change your current enrollment for the next calendar year. If you are not
    enrolled for coverage when your employment ends, you will not be able to elect COBRA continuation
    coverage.

Period of Coverage
Coverage generally cannot be continued beyond the earlier of the following dates:

•   for you and your dependents, 18 months from the date you terminated employment or had a reduction in
    work hours that resulted in a loss of coverage, or
•   for your dependents, 36 months from the date of your death, divorce or legal separation or domestic
    partner ceasing to be your domestic partner or, in the case of a dependent child, 36 months from the date
    your child no longer meets the eligibility requirements for coverage.
If a second qualifying event occurs while COBRA continuation coverage is in effect during the original 18-
month continuation period that follows your termination of employment or reduction in hours, the continuation
period for your dependent who is affected by the second qualifying event will be extended to 36 months from
the date of the first qualifying event. For example, if you terminate employment (for a reason other than gross
misconduct) on May 1, 2020, you and your dependents' original COBRA continuation period normally would
end on November 1, 2021. However, if you die during the continuation period while your family was covered
under COBRA continuation coverage, your family's COBRA continuation period would be extended so that they
could continue their coverage to May 1, 2023.
If you die while an active employee, your eligible dependents will receive COBRA continuation coverage — at
no cost for the first 6 months following your death — provided they were enrolled for coverage at the time of
your death.
Special Disability Rules. If you or a covered dependent becomes disabled as determined by Social Security
within 60 days following a qualifying event, you can request an extension in the continuation period from 18 to
29 months. This extension applies to you and all covered dependents. To obtain this extended coverage, you
must notify the COBRA Administrator within 60 days of being classified as totally disabled under Social
Security and within 18 months of the qualifying event.
If you receive this extended coverage, you must pay 102% of the full cost of the continuation coverage for the
first 18 months. After 18 months, the required payments will increase from 102% to 150% of the full cost of
coverage.
If you receive the extended coverage, you are required by law to notify the COBRA Administrator that you are
no longer disabled within 30 days of any final determination made by Social Security. Once notified, your
extended coverage will end as of the first month beginning more than 30 days after Social Security's
determination.




                                                       16
       Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 17 of 87         Document 1-2
When Coverage Ends
COBRA continuation coverage will end if the covered individual:

•   fails to pay the required monthly cost — other than the first premium — within 30 days of the due date,
•   becomes covered under another group health plan after the date of your COBRA election —except if
    coverage under the new plan is limited because of a pre-existing condition exclusion, or
•   becomes enrolled in Medicare Parts A and/or B after the date of your COBRA election.
Coverage will also end if Labcorp terminates all of its group health plans.

Cost of Coverage
COBRA continuation coverage is provided at your or your dependent's expense. The cost to you or your
dependents for this coverage is 102% of Labcorp's cost. However, in the case of a disabled individual whose
18-month continuation is extended to 29 months, the cost is 150% of Labcorp’s cost during the extended 11-
month period.
Your premiums are due on the first of each month. Your first premium payment is due within 45 days of the
date you elect COBRA continuation coverage.


How You Pay for Coverage
Your contributions for certain benefits are made on a before-tax basis. This means that your contributions are
automatically deducted from your paycheck before Social Security (FICA), federal, and in some cases, before state
and local taxes are withheld. As a result, you save money on taxes and, in effect, pay less for your coverage.
Here is a list of the before-tax and after-tax benefits available through the Personal Choice Benefits Program.

BEFORE-TAX BENEFITS                                            AFTER-TAX BENEFITS
•    Medical Plan                                              •   Optional Life Insurance
•    Dental Plan                                               •   Dependent Life Insurance
•    Vision Plan                                               •   Optional AD&D Insurance
•    Flexible Spending Accounts                                •   Disability Insurance
                                                               •   Legal Assistance Plan
                                                               •   Employee Stock Purchase Plan

Because your Social Security taxes are reduced, your Social Security benefits may also be reduced.
The value of certain benefits is considered imputed income, which means you pay taxes on the value of that coverage. You
will have imputed income on the amount of your Labcorp-paid basic life insurance coverage in excess of $50,000 or the
entire amount of your Labcorp-paid basic life insurance coverage if you are one of the top 50 highly compensated officers of
Labcorp.
For Federal tax purposes, if you are in a domestic partner or civil union relationship that is not recognized as a marriage
under State or foreign law, you will be subject to imputed income on the value of medical, dental and vision coverage for
your partner and/or his/her children. You may also be subject to imputed income for State tax purposes, depending on the
law of the State in which you live. If you are in a lawful same sex marriage, you will not be subject to imputed income for
Federal tax purposes. You may, however, be subject to imputed income on the value of the medical, dental and vision
coverage provided to your partner and/or his/her children depending on the State tax laws of the State in which you live.
*This example is based on the federal tax laws in effect on November 1, 2013. Any change in tax laws may impact
the amount of annual tax savings reflected in this example.




                                                             17
        Case 2:24-cv-00807-NJ                  Filed 06/28/24          Page 18 of 87            Document 1-2
Coordination of Benefits (COB)
You or your family members may be covered by more than one health care plan, most likely because your
spouse/domestic partner has medical, dental or vision coverage through his or her employer. Even so, you
can't be covered twice for an expense that is covered by both group plans. The most you'll receive for any
covered expense is what the more generous plan will pay. This process is called “coordination of benefits” (or
“COB”) and here's how it works.
One benefit plan is considered primary and the other plan is considered secondary. The primary plan pays
claims first, and the secondary plan pays claims after the primary plan pays. In general, if a claim is for:

•   you — the Labcorp plan is the primary plan and pays benefits first,
•   your working spouse/domestic partner — his or her plan is primary, or
•   your child covered as a dependent under both plans — the plan of the parent whose birthday (month and
    day) occurs earlier in the year is primary. In those states that have not enacted the “birthday rule,” the
    father's plan is primary.
The plan that covers you or your dependent as an active employee pays for eligible expenses before any plan
that covers you or your dependent as an inactive employee (retiree coverage, Medicare or COBRA).
When the primary plan responds, you should send a copy of that plan's explanation of benefits (EOB)
statement and copies of all the itemized bills to the secondary plan for processing.
When a company has no coordination of benefits feature or has not adopted the birthday rule, that plan is
always primary. If you are divorced or legally separated, special rules may apply. In these cases, please
contact PeopleCare at 1-888-800-4002 for more information.
If you are considering obtaining coverage with another group health care plan, be sure you understand how
Personal Choice health care plans coordinate benefits with other group health care coverage.


Coordination of Benefits Through the Medical Plan
When you or a dependent is covered under two employer-sponsored medical plans and the Medical Plan
through Labcorp is secondary, benefits are coordinated using maintenance of benefits. Under maintenance of
benefits, the Medical Plan through Labcorp provides benefits only to make up the difference between what the
other plan (the primary plan) paid and what the Medical Plan through Labcorp would have paid if it had been
primary. This means that 100% coverage between the two plans is not provided. You are responsible for any
charges not paid by either plan, including any amounts in excess of the Maximum Reimbursable amount.
The following example shows how benefits are paid under maintenance of benefits. The assumptions in the
example are:

•   the Labcorp Medical Plan is secondary,
•   the other employer’s medical plan is primary, and
•   both plans pay benefits at 80% after the deductibles have been met.
When the Medical Plan through Labcorp is secondary, it will not pay any benefits until the primary plan has
processed the claim.

LABCORP MEDICAL PLAN IN-NETWORK
Covered Expenses                                                                   $500
Your Medical Plan through Labcorp– Benefit ($500 x 80%)                            $400
(amount Labcorp Health Plan would pay if it is the primary plan)
Primary Medical Plan Paid ($500 x 80%)                                             $400
Your Medical Plan through Labcorp Paid                                             $0
(the difference in what your Medical Plan through Labcorp would have paid if it
had been primary and what the other plan paid)
Employee's Out-Of-Pocket Expense                                                   $100
                                                       18
       Case 2:24-cv-00807-NJ              Filed 06/28/24           Page 19 of 87        Document 1-2
When You Become Eligible for Medicare Due to Age
Medicare is the federal government's health insurance program for individuals age 65 or over. Once you reach
age 65, even if you are still an active employee and covered by the Medical Plan, you may apply for Medicare.
In such case, you may be covered by both the Medical Plan and Medicare. To the extent permitted by law, the
Medical Plan will pay benefits second to Medicare. However, if you are age 65 or older and you are still an
active employee, the general rule is that the Medical Plan may not consider what Medicare pays before the
Medical Plan pays benefits. Here’s how it works.
When you or your spouse/domestic partner has a medical bill covered by both the Medical Plan and Medicare,
the Medical Plan provides the benefits to which you are entitled under the Medical Plan, if any, until its limits
are reached. Medicare will then provide its benefits, but it may consider the amount paid by the Medical Plan
when determining Medicare benefits.


When You Become Eligible for Medicare Due to Disability
In addition to becoming eligible for Medicare when you reach age 65, you may also be eligible for Medicare
benefits if you are under age 65 and disabled or have kidney failure. In such case, the coordination of your
benefits will be different than the general rule for age-based eligibility for Medicare.
If you become disabled and qualify for Social Security disability benefits, you will become eligible for Medicare
benefits after 24 months. In this event, the Labcorp Medical Plan will coordinate its benefits with those provided
by Medicare in the following manner. Before the Medical Plan pays benefits, it first considers what Medicare
pays—including Medicare Part A (hospital insurance) and Medicare Part B (medical insurance).
Here's how it works.
When you or your spouse/domestic partner has a medical bill covered by both Medicare and the Medical Plan,
Medicare pays its full benefits first. Then, the Medical Plan considers the same charge. In doing so, the Medical
Plan first calculates your benefits without regard to Medicare. Then Medicare's payment is subtracted from the
resulting amount.


Coordination of Benefits Through the Labcorp Dental Plan
When the Labcorp Dental Plan is secondary, benefits are coordinated with benefit payments from other plans.
This means that the total amount paid under all plans can be equal to, but not greater than, the total of
expenses considered reasonable and customary.
Under the coordination of benefits provision, the primary plan provides benefits until its limits are reached. The
secondary plan then provides benefits based on the amount not paid by the primary plan until the limits of the
secondary plan are reached. If a third plan is involved, it then provides benefits. The total amount paid by all
applicable plans cannot be greater than the total amount of the allowable expense.
When the Labcorp Dental Plan is secondary, it gives you credit for savings resulting from coordination. This
credit is used to provide payments for allowable expenses that would not have been paid if it had been the only
plan involved in the claim. Any credits arising from coordination of benefits do not carry over from one year to
the next.
After all plans have paid benefits, you are responsible for any remaining charges, including any amounts more
than the reasonable and customary amount.
The total amount paid by the Labcorp Dental Plan under the coordination process cannot be greater than what
the Dental Plan would have paid if it had been primary. The Labcorp Dental Plan is always secondary to any
medical plan providing dental benefits.

Subrogation/Third-Party Liability
If you or a covered dependent (referred to in this section as a covered person) suffers an illness or injury
involving a third party who may be liable ("responsible party"), either individually or through insurance
(including, but not limited to, medical expense coverage, uninsured motorist coverage, underinsured motorist
coverage, personal umbrella coverage, medical payments coverage, workers' compensation coverage, no-fault
automobile insurance coverage or any first party insurance coverage), immediately upon paying or providing
                                                         19
        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 20 of 87          Document 1-2
any benefit under the Medical (including Prescription Drug), Dental or Vision Plan (each a Plan), the Plan will
be subrogated to (stand in the place of) all rights to recovery of a covered person due to the injury, illness or
condition of a covered person to the full extent of benefits provided by the Plan.

Reimbursement
In addition, if a covered person receives any payment from any responsible party or insurance coverage as a
result of an injury, illness or condition, the Plan has the right to recover from, and be reimbursed by, the
covered person for all amounts the Plan has paid and will pay as a result of that injury, illness or condition, from
such payment, up to and including the full amount the covered person receives from any responsible party. By
accepting benefits from the Plan (whether the payment of such benefits is made to the covered person or made
on behalf of the covered person to any provider), the covered person agrees that any payment received by the
covered person from any responsible party because of an injury, illness, or condition, will be held by the
covered person as a constructive trustee for the Plan. Failure to hold such funds in trust will be deemed a
breach of the covered person's fiduciary duty to the Plan.

Plan's Lien Rights
The Plan will automatically have a lien to the extent of benefits paid by the Plan for the treatment of the illness,
injury, or condition for which the responsible party is liable. The lien will be imposed upon any recovery
whether by settlement, judgment or otherwise, including from any insurance coverage, related to treatment for
any illness, injury, or condition for which the Plan paid benefits. The lien may be enforced against any party
who possesses funds or proceeds representing the amount of benefits paid by the Plan including, but not
limited to, the covered person, the covered person's representative or agent, the responsible party, the
responsible party's insurer, representative or agent and/or any other source possessing funds representing the
amount of benefits paid by the Plan.
By accepting benefits from the Plan (whether the payment of such benefits is made to the covered person or
made on behalf of the covered person to any provider), the covered person acknowledges that the Plan's
recovery rights are a priority claim against all responsible parties and are to be paid to the Plan before any
other claim for the covered person's damages. The Plan is entitled to full reimbursement on a first-dollar basis
from any responsible party's payments, even if such payment to the Plan will result in a recovery to the covered
person in whole or in part for the damages sustained. The Plan is not required to participate in or pay court
costs or attorney fees to any attorney hired by the covered person to pursue the covered person's damage
claim.

All Settlements
All of the terms of this Subrogation/Third-Party Liability section apply to all settlements and judgments and the
Plan is entitled to full recovery regardless of whether any liability for payment is admitted by any responsible
party and regardless of whether the settlement or judgment received by the covered person identifies the
benefits the Plan provided or tries to allocate any portion of such settlement or judgment to the payment of
expenses other than medical expenses. The Plan is entitled to recover from all settlements or judgments, even
those designated as pain, suffering, non-economic damages and/or general damages only.

Responsibility of Covered Person
The covered person must fully cooperate with the Plan's efforts to recover its benefits paid. It is the duty of the
covered person to notify the claims administrator of the Plan within 30 days of the date when any notice is
given to any party, including an insurance company or an attorney, of the covered person's intention to pursue
or investigate a claim to recover damages or obtain compensation due to injury, illness or condition sustained
by the covered person. The covered person and any agents thereof must provide all information requested by
the Plan, the claims administrator or its representative including, but not limited to, completing and submitting
any applications or other forms or statements as the Plan may reasonably request. Failure to provide this
information, failure to assist the Plan in pursuit of its subrogation rights or failure to reimburse the Plan from any
settlement or recovery obtained by the covered person, may result in the termination of coverage under the
Plan for the covered person or the commencement of court proceedings against the covered person.
The covered person shall do nothing to prejudice the Plan's subrogation or recovery interest or to prejudice the
Plan's ability to enforce its terms. This includes, but is not limited to, refraining from making any settlement or
                                                          20
        Case 2:24-cv-00807-NJ               Filed 06/28/24          Page 21 of 87          Document 1-2
recovery attempts to reduce or exclude the full cost of all benefits provided by the Plan.
The covered person acknowledges that the Plan has the right to conduct an investigation regarding the injury,
illness or condition to identify any responsible party. The Plan reserves the right to notify the responsible party
and his/her agents (including, but not limited to, an insurance company and/or attorney) of the Plan's lien.

Jurisdiction
By accepting benefits from the Plan (whether the payment of such benefits is made to the covered person or
made on behalf of the covered person to any provider), the covered person agrees that any court proceeding
with respect to this section may be brought in any court of competent jurisdiction that the Plan may elect. By
accepting such benefits, the covered person hereby submits to each such jurisdiction, waiving whatever rights
may correspond to him/her by reason of his/her present or future domicile.


Qualified Medical Child Support Order
ERISA requires group health plans to comply with a Qualified Medical Child Support Order (QMCSO). A
Qualified Medical Child Support Order:

•   is any decree, judgment or order issued through an administrative process under state law or from a state
    court or administrative agency with jurisdiction over the child's support, including approval of a domestic
    relations settlement agreement, that
•   recognizes the child as an alternate recipient for plan benefits, and
•   provides for the child’s support or health plan coverage, based on a state domestic relations law —
    including a community property law.
If you are currently enrolled in a Labcorp group health plan you can elect coverage for you and your child. You
can enroll your dependent child only if you also enroll.
In general, to be qualified, the order must specify the employee's name and last known address (if any), each
alternate recipient's name and address, a reasonable description of the coverage the child is entitled to, how
long the child is entitled to coverage and each plan subject to the order.
The following rules apply to QMCSOs:

•   children named in QMCSOs will be eligible for coverage as outlined under the plan (coverage not offered
    under the plan can't be mandated),
•   a non-employee parent or state agency can enroll the child in the plan if the employee refuses to
    cooperate, and
•   an employer can withhold contributions from the employee's salary to pay for the court-ordered coverage
    as compelled by state legislation.
The Labcorp group health plans have established written procedures to:

•   determine an order's qualified status,
•   administer benefits under a qualified order,
•   provide prompt notification of the procedures to each person named in the order (at the address included in
    the order), and
•   permit alternate recipients to name a representative to receive copies of any notices.




                                                         21
        Case 2:24-cv-00807-NJ              Filed 06/28/24          Page 22 of 87         Document 1-2
HIPAA and Your Health Care Coverage
The Health Insurance Portability and Accountability Act of 1996, also known as HIPAA, requires employers like
Labcorp who offer group health coverage to provide certain rights for employees, as described below.


Pre-Existing Conditions
To comply with HIPAA, Labcorp's group health plans do not impose any pre-existing condition limitations. Your
health care needs are covered based on the provisions of the plan you select, regardless of whether they
existed before you became eligible for a Labcorp-sponsored health plan.


Privacy Notice
HIPAA requires that you be provided a Privacy Notice regarding your Protected Health Information (PHI). PHI
is information about you that can be used to identify you and that relates to your past, present or future physical
or mental health, required care or the payment for that care.
In general, Labcorp, as plan sponsor, and each group health plan will use and disclose your PHI only for
purposes of your treatment, payment and health care operations. The Notice lists other situations where
Labcorp or a group health plan might disclose information, describes your rights and lets you know how you
can access this information.
View the full text of the HIPAA Privacy Notices on Benefits Central or contact PeopleCare at 1-888-800-
4002.


Medical Coverage
The financial impact of a serious illness or injury could be devastating without adequate medical coverage.
That's why Labcorp offers you comprehensive medical coverage to protect you from paying high medical
expenses.

You may be able to choose from up to four network options, based on where you live. Please refer to the
Summary Plan Description booklet available through Benefits Central for each plan listed below for coverage
details.

    •   Labcorp Medical Plan – Healthy Premium (Aetna, BCBS, Cigna, UnitedHealthcare, UMR-Madison, WI
        Only)
    •   Labcorp Medical Plan – Healthy Standard (Aetna, BCBS, Cigna, UnitedHealthcare, UMR-Madison, WI
        Only)
    •   Labcorp Medical Plan – Healthy Value (Aetna, BCBS, Cigna, UnitedHealthcare, UMR-Madison, WI
        Only)

If you work at a Labcorp location in California and have elected coverage under the Kaiser Permanente
Deductible HMO Plan, you should refer to the Evidence of Coverage issued to Labcorp by Kaiser Permanente
for a description of your medical coverage. To the extent any information in this Handbook is inconsistent with
the Evidence of Coverage from Kaiser Permanente, the Evidence of Coverage shall govern.




                                                        22
        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 23 of 87         Document 1-2
Health Reimbursement Arrangement (HRA)
A Health Reimbursement Arrangement (HRA) is an account the company funds that you can use to pay for qualified
health care expenses.
When you enroll in the Labcorp Healthy Premium, Healthy Standard or Healthy Value Medical Plan you are provided
access to an HRA Account. When you complete certain preventive services or wellness and disease management
programs, the Company credits dollars to your HRA Account. You can use these dollars to pay for reimbursable
medical and prescription drug expenses for yourself or your eligible enrolled dependents.
Individuals can save up to $500 ($1,000 for family coverage) on your out-of-pocket medical and prescription drug
expenses by earning HRA Account dollars!

Keep in mind: you cannot contribute to the account; it is funded and owned exclusively by the company.

Understanding the Basics
    •   You must be enrolled in the Labcorp Healthy Premium, Healthy Standard or Healthy Value Medical Plan.
    •   You may use HRA Account funds to pay for eligible medical expenses, including out-of-pocket costs to meet
        your deductible, copays and coinsurance.
    •   You can also contribute to a Health Care Flexible Spending Account (FSA), to give yourself even more pretax
        dollars to pay for out-of-pocket medical, dental and vision expenses.
    •   If you leave the company you will forfeit any remaining balance, unless you enroll in COBRA continuation of
        benefits.
    •   You are not able to make contributions to the HRA.

Earning HRA Account Dollars
For the plan year, you may earn up to an annual maximum of $500 in HRA Account dollars by completing online and
telephonic Wellness Programs, and telephonic Disease Management Programs through OptumHealth, as well as
specified healthy activities.
If your spouse/domestic partner is enrolled in the Labcorp Medical Plan, he or she also may earn up to $500 in HRA
Account dollars for the plan year. That’s up to $1,000 for your family HRA Account if you and your covered spouse/
domestic partner both earn the maximum amount of HRA Account dollars.
For more information about how to earn, see the HRA Account Activities table.

Using HRA Account Dollars
Your HRA Account funds can only be used for medical expenses, such as copays at your medical doctor’s office, and
for prescription drugs.
Once funds are in your HRA Account, you will receive a Spending Account Card that you can use for your
reimbursable medical and prescription drug expenses. This is the same card you will receive if you enroll in the Health
Care Flexible Spending Account. You will continue to use the card until you are no longer enrolled in the HRA Account
or Health Care FSA.

Unused HRA Account Dollars
Any unused dollars available in your HRA Account at the end of the year can be carried forward, subject to annual
carryover limits of $3,000 if only the employee is enrolled or $6,000 if the employee covers one or more eligible
dependents on their Labcorp Medical Plan.




                                                             23
             Case 2:24-cv-00807-NJ             Filed 06/28/24         Page 24 of 87         Document 1-2
No Charge Laboratory Testing Benefit
This information is part of your Personal Choice Benefits Handbook for 2023, which constitutes the summary
plan description (SPD) for the Labcorp health and welfare and retirement plans offered through the Labcorp
Personal Choice Benefits Program subject to the Employee Retirement Income Security Act of 1974 (ERISA),
the federal law that governs certain employee benefit plans. The Handbook provides only a summary of the
plans as in effect on January 1, 2023 for employees of Labcorp on or after January 1, 2023. In the event of any
conflict between information contained in this Handbook and the official Plan documents, the official Plan
documents govern.
This Handbook does not establish enforceable employee rights, contractual or otherwise, and does not
establish an employment relationship enforceable by employees. The provisions of the Handbook do
not constitute a contract and are subject to change at any time without notice (except as otherwise required by
law). Nothing in this Handbook or any other publication from Labcorp shall interfere with or limit in any way the
right of Labcorp to terminate any employee’s employment without cause or notice at any time, confer upon any
employee any right to continue employment with Labcorp, or change an employee’s existing at-will employment
status. You remain an employee at-will, which status may be changed only by an authorized Labcorp
representative in writing.
For information about eligibility, enrolling for coverage, paying for coverage, when your coverage starts and
stops and other important information, see An Overview of Personal Choice in this Handbook.
Labcorp reserves the right to change, suspend or terminate any benefits and any plan at any time. The
information in this 2023 Handbook supersedes and replaces all prior summary plan descriptions, program
summaries, communications, whether oral or written, or other information relating to the plans, benefits, and
programs.

Who Is Eligible
Individuals who are eligible for the No Charge Laboratory Testing Benefit include:
•   All employees, including casual employees, as of their date of hire
•   Most dependents, including a spouse or domestic partner and eligible dependent children up to the plan
    year in which they turn age 26. (Eligible children include natural children, stepchildren, legally adopted
    children and children for whom you or your spouse/domestic partner have legal custody or legal
    guardianship.)

Please note: Eligible employees and dependents can use the No Charge Laboratory Testing Benefit even if
they are not enrolled in one of Labcorp’s group health plans.

Who Is Not Eligible
Individuals who are not eligible for the No Charge Laboratory Testing Benefit include:
•   Certain dependents, such as parents or grandchildren
•   Contractors and employees working through a temporary staffing agency
•   Employees who are members of a collective bargaining unit unless their bargaining agreement specifically
    provides a “no charge” laboratory testing benefit.
•   Employee outside of the U.S.




                                                       24
       Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 25 of 87           Document 1-2
 How to Enroll Your Dependents in the No Charge Laboratory Testing
 Benefit
 You are automatically enrolled in the No Charge Laboratory Testing Benefit when you are hired. However, you
 must enroll your eligible dependents for the No Charge Laboratory Testing Benefit through the Benefits
 Enrollment System, even if you are not electing other Company-sponsored benefits. There are three times at
 which you can add eligible dependents to the No Charge Laboratory Testing Benefit:
 •       During Annual Enrollment
 •       During your 30-day enrollment window, if you are a new hire or newly eligible employee
 •       In connection with a Qualified Status Change during the year

 What Happens when you Leave the Company?
 If you terminate or retire from Labcorp on January 1, 2023, or later you will be allowed to continue the No
 Charge Laboratory Testing Benefit for yourself or your enrolled dependents through the Consolidated Omnibus
 Budget Reconciliation Act (COBRA) for up to 18-months at no cost to you.


 What the Benefit Covers
 The No Charge Laboratory Testing Benefit pays the full cost of most laboratory tests submitted to Labcorp for
 analysis on behalf of individuals eligible for this benefit. Tests not covered by this benefit include identity testing
 and any laboratory tests that are processed, sent out or “referenced” to a third party that is not a Labcorp
 facility. Tests requested through Labcorp OnDemand are also excluded from coverage through the No Charge
 Laboratory Testing Benefit.

 Confidentiality & Your Laboratory Results
 To ensure your privacy, laboratory test results will be released only to the ordering physician or designee. If you
 set up a Labcorp Beacon Patient account, you can view your test results within a few days after they have been
 released to your physician or designee. Visit patient.labcorp.com to set up your account.


 How the No Charge Laboratory Testing Program Works if you ARE
 ENROLLED in the Labcorp Medical Plan
 If a physician orders a laboratory test for you or your eligible dependent, you can receive coverage through the
 No Charge Laboratory Testing Benefit in one of two ways:


1.   Use a Labcorp Patient Service Center to have your specimen collected: You may choose to have the
     laboratory test collected at a Labcorp Patient Service Center. Labcorp has a network of more than 1,700
     Patient Service Centers nationally. You can use the Patient Service Center locator on www.Labcorp.com to
     locate a Patient Service Center near you and schedule an appointment to help reduce your wait time.
     Please note: some Patient Service Centers offer walk-up hours and appointment-only hours, so be
     sure to check prior to your visit.

     When you go to the Patient Service Center for the laboratory test, please bring the following information with
     you:
     •      Your medical insurance card
     •      Physician’s signed requisition form including:
           o Your name
           o Your relationship to the insured
           o Physician’s name




                                                             25
            Case 2:24-cv-00807-NJ              Filed 06/28/24        Page 26 of 87           Document 1-2
              o     Physician’s address
              o     Physician’s phone and fax number
              o     Labcorp account number- if applicable
              o     Labcorp Test number(s) or test name
              o     Diagnosis information (in narrative or ICD-10 code)

        Reminder: If you have medical insurance through a Labcorp-sponsored plan or another insurance plan you
        MUST provide your insurance information before the laboratory test is performed. The claim for the test will
        be filed directly with your insurance plan.

        2.     Use your physician's office or another medical facility to collect your specimen: In some
               circumstances, you may need to have the laboratory specimen collected or procedure performed at the
               physician's office, a hospital, or other medical facility. If this situation occurs, please follow these
               procedures:
              o Provide the physician’s office or other facility with your medical insurance card
              o Request that your physician send your laboratory test directly to Labcorp for analysis
              o Have the physician include a signed Labcorp requisition form including:
                    • Your name
                    • Your relationship to the insured
                    • Physician’s name
                    • Physician’s address
                    • Physician’s phone and fax number
                    • Labcorp account number- if applicable
                    • Labcorp Test number(s) or test name
                    • Diagnosis information (in narrative or ICD-10 code)

    IMPORTANT: Failure to provide the necessary information on the physician's requisition form may result
    in a delay in claims processing or coverage for the No Charge Laboratory Testing Benefit being denied.


    How the No Charge Laboratory Testing Benefit Works if you ARE NOT
    ENROLLED in the Labcorp Medical Plan
    If you are not enrolled in the Labcorp Medical Plan, you may still receive coverage through the No Charge
    Laboratory Testing Benefit, even if you are enrolled in another medical plan or you do not have insurance through
    any other medical plan. Please refer to “Who is Eligible” above and follow the procedures outlined to ensure that
    your eligible dependents are enrolled in this benefit. If you request a test through Labcorp OnDemand, it will not be
    eligible for coverage. You will be responsible for any charges not covered through the No Charge Laboratory
    Testing Benefit.


    If You Receive a Bill from Labcorp
    If at any time you receive a bill from Labcorp for an eligible laboratory test you would like to submit for the No
    Charge Laboratory Testing Benefit, be sure to:
•      Verify your medical insurance has processed the claim. Remember, your claim must be filed with your medical
       insurance, if applicable, before the No Charge Laboratory Testing Benefit will be applied.
•      Contact Labcorp Patient Billing if you receive a Labcorp bill showing any balance due after your medical
       insurance has processed the claim (or if you do not have medical insurance and your Labcorp bill shows a
       balance due.) You can contact Labcorp Patient Billing by:
       o Computer: go to www.labcorp.com and click on “Patient Billing Center”
       o Phone: call the Patient Customer Service number listed on your Labcorp bill
       o Mail: return the Labcorp bill, the Explanation of Benefits (EOB) from your medical insurance and any
           other requested information to the address indicated on the Labcorp bill—keep a copy for your records.




                                                                26
                  Case 2:24-cv-00807-NJ            Filed 06/28/24         Page 27 of 87          Document 1-2
Prescription Drug Coverage
Your Labcorp medical coverage includes certain prescription drug benefits. OptumRx administers the
prescription drug program.
To learn more about your prescription drug coverage, refer to the information in this section of your
Personal Choice Benefits Handbook. You will find additional information about eligibility, enrolling for
coverage, paying for coverage, when your coverage starts and stops and other important information in
the 2023 Overview Section of the Handbook.
If you work at a Labcorp location in California and have elected coverage under the Kaiser Permanente
Deductible HMO Plan, you should refer to the Evidence of Coverage issued to Labcorp by Kaiser
Permanente for a description of your prescription drug coverage. To the extent any information in this
Handbook is inconsistent with the Evidence of Coverage from Kaiser Permanente, the Evidence of
Coverage shall govern.


A Word About Prescription Drugs
Some prescription drugs have generic drug alternatives. By law, both brand and generic drugs must meet
the same standards for quality, purity and strength. This means generic drugs are just as effective as their
brand name equivalents. Generic drugs are typically much less expensive, can dramatically reduce your
out-of-pocket costs and provide a safe and effective alternative to brand name drugs.

When using a pharmacy that participates under OptumRx, the benefit is paid directly to the pharmacy or
home delivery drug company. If, however, the pharmacy does not participate in the prescription drug
program authorized by OptumRx, this benefit is paid directly to you. In this case, you must file a claim
directly to OptumRx. Prescriptions purchased at a non-participating pharmacy will be reimbursed at a
lower level. This level reflects any applicable copayment and prescription drug discount available through
the participating pharmacies.

Generic Drugs

Generic drugs contain the same active ingredients and are subject to the same FDA standards as their
brand name counterparts. Generally, generic drugs cost less than brand drugs.

Brand Drugs

Brand drugs carry the product name under which a drug is advertised and sold.

Formulary Drugs

A formulary is a list of drugs that are covered under your prescription drug coverage. Formulary drugs
have been found to be safe and effective in meeting the needs of both patients and their providers.
Labcorp's Plan features a formulary to encourage you to use quality, affordable prescription medications
that have proven to be effective. The drug formulary list is continually reviewed and updated based on
input by expert doctors and pharmacists. If brand drugs are not part of the formulary, they are considered
“non-preferred” and are typically more costly for you.

If you have questions about your prescription drug benefits or need to find out if your drug is on the
                                                                                                             27

       Case 2:24-cv-00807-NJ             Filed 06/28/24        Page 28 of 87        Document 1-2
formulary, call OptumRx at 1-888-691-0169 or access the OptumRx Web site link through Benefits
Central.

Premium Prescription Drug List

Some medications are subject to exclusion if they are not listed on the OptumRx Premium Prescription
Drug List (PDL); however, the therapeutic equivalent of these excluded prescription drugs will be
covered. If you are currently taking a prescription impacted by the PDL, you will be notified by OptumRx.
You can access the full PDL on Benefits Central.




                                                                                                            28

       Case 2:24-cv-00807-NJ            Filed 06/28/24       Page 29 of 87        Document 1-2
How You Pay for Your Prescriptions

The cost of your prescription medications depends on whether you:
        •   purchase generic, brand-name formulary or non-formulary drugs, and use a retail pharmacy or
            the OptumRx Mail Service Pharmacy.


Diabetic Supplies/Medications Copays Waived

The pharmacy copay for certain diabetic supplies (i.e., lancets, test strips), will be waived or partially
waived. The portion of the copay waiver for specific supplies is described below.

DIABETIC INCENTIVE PROGRAM                                           COMMENTS
100% Copay             Test strips, Insulin syringes/needles,
Waived For             Lancets, Alcohol swabs, Insulin pens,         The supply will be eligible for the 100%
Supplies               Insulin Pump supplies, Continuous             copay waiver.
                       Blood Glucose monitors



50% Copay              Oral Medications and Injectable               Oral and Injectable Medications will be
Waived For             Medications                                   eligible for the 50% copay waiver.
Diabetes
Medications


Refills By Mail        For maintenance supplies, two fills           Maintenance supplies will not be eligible
Service                per covered individual will be allowed        for the copay waiver if the member
                       at a retail pharmacy, then all refills        continues to use a retail pharmacy (that
                       must be submitted through mail                is not Walgreens) after the first two fills
                       service.                                      or switches from mail service back to
                                                                     retail for a covered supply.
                       For Oral and Injectable Medications,
                       two fills at a retail pharmacy will be        Maintenance Oral and Injectable
                       eligible for the 50% copay waiver.            Medications will be eligible for the
                                                                     waiver for up to two fills at retail before
                                                                     mail service or using Walgreens is
                                                                     required.




                                                                                                                   29

       Case 2:24-cv-00807-NJ              Filed 06/28/24        Page 30 of 87          Document 1-2
Copay Reduction for Supplies
   To take advantage of the copay waiver for (maintenance) diabetic supplies, simply follow these guidelines:

           •   If you already use the OptumRx Mail Service Pharmacy or Walgreens for obtaining your
               diabetic supplies, you must continue to do so.

           •   If you are newly diagnosed, you can fill your first prescription for diabetic supplies at
               a retail pharmacy for $0 copay/coinsurance. All subsequent refills must be ordered
               through the OptumRx Mail Service Pharmacy or Walgreens to receive coverage
               under the pharmacy plan.

   Smoking Cessation and Weight Loss Medications Incentive
   Your prescription drug coverage includes smoking cessation and weight loss medications prescribed by
   your physician. If you need help to quit smoking or using tobacco products, these preventive medications
   will be available at $0 cost- share. To qualify you need to:

           •   Be age 18 or older
           •   Get a prescription for these products from your doctor, even if the products are sold over
               the counter (OTC)
           •   Fill the prescription at a network pharmacy

   Up to 180 days of treatment are covered at no-cost each year. Maximum daily dose quantity limits
   apply.

   Mandatory Mail Service Pharmacy Program
   The mail service pharmacy program through OptumRx is mandatory for maintenance medications.
   Maintenance medications are those that a person takes for a long period of time, such as drugs used to
   treat high blood pressure, high cholesterol, diabetes or asthma. The advantage to you is that you will
   receive these medications at a long-term lower cost than if you had the prescriptions filled every 30 days,
   which is the typical time period for prescriptions from a retail pharmacy.

   Here’s what to do: The first time the doctor prescribes a maintenance medication, ask for two
   prescriptions, one to take to your local pharmacy for a 30-day supply so you can begin taking the
   medicine immediately, and one for up to a 90-day supply for you to mail to OptumRx Mail Service
   Pharmacy or to take to a local Walgreens. Any prescription sent to OptumRx and presented at a local
   Walgreens will be charged the full 90-day copayment (if applicable), so be sure to have the prescription
   written for up to a 90-day supply.

   To get your maintenance prescriptions refilled through the OptumRx Mail Service Pharmacy, you can:

           •   Call the toll-free number: 1-888-691-0169,
           •   Go to the Member Services section on the OptumRx Web site www.optumrx.com, or
           •   Mail your prescriptions to: OptumRx
               P.O. Box 2975
               Mission, KS 66201-1375

   Standard delivery to your home is free, and your medications should arrive within 7 to 10 working days
                                                                                                                 30

          Case 2:24-cv-00807-NJ             Filed 06/28/24        Page 31 of 87         Document 1-2
from the day OptumRx receives your order. Be sure to request all home delivery medications at least
three weeks before you need them, especially for new prescriptions.

You will be allowed to fill your maintenance medication (except for certain diabetic supplies) a maximum of
two times within a 365-day period at your local pharmacy. Any additional refills must be filled through the
OptumRx Mail Service Pharmacy or Walgreens to receive coverage. If you continue to fill your
maintenance medications at your local retail pharmacy (other than Walgreens), you will pay 100% of the
cost.

Generic Substitution Program
Your prescription drug coverage has a generic substitution program that requires medications to be
dispensed as generic drugs rather than brand drugs. Generic drugs will be dispensed by your pharmacist
based upon their availability, state law and your physician’s approval. Generic drugs usually are just as
effective as brand name drugs because they are made from the same active ingredients as the brand
name drugs. Like brand name drugs, they are manufactured according to standards and carry the
approval of the Food and Drug Administration (FDA) for safety and effectiveness.

Here's What to Do: To ensure that you receive a generic drug whenever available, simply ask your
physician to write the prescription for a generic drug before he or she writes out your prescription. Using
generic drugs will save you money. Generic drugs cost less because there are reduced advertising
expenses and lower overhead costs for drug companies who are manufacturing generic drugs.

If you choose to receive a brand name drug when a generic is available, you will be required to pay the
brand copay and the difference in the ingredient cost of the two drugs.

If you have questions about generic substitutions, call the OptumRx toll-free Member Services Center at 1-
888-691- 0169, or go to the OptumRx Web site on Benefits Central.

Additional Prescription Drug Information
OptumRx uses clinical guidelines to manage drugs that are expensive or have the potential to be used
inappropriately.




                                                                                                              31

        Case 2:24-cv-00807-NJ            Filed 06/28/24       Page 32 of 87         Document 1-2
Quantity Limits
Quantity Limits — Maximum number of pills or units (i.e., injections or nasal spray bottles) covered by
the Plan within 30 days. If prescribed, you may purchase more than the quantity limit allows, but you will
be responsible for 100% of the cost of any amount over the quantity limit. Examples of drugs that may be
subject to quantity limits are drugs prescribed for insomnia, migraine headaches and impotence. The
chart below shows just a few examples of these drug categories and examples of drugs that may be
prescribed which may be subject to quantity limits.

Quantity Limits Examples

             Drug Categories                               Name Of Drug


 Insomnia Drugs                             Zolpidem, Doral


 Anti-Migraine Drugs                        Sumatriptan, Frovatriptan, Amerge


 Impotence Drugs                            Sildenafil, Tadalafil


Step Therapy
Step Therapy — Coverage that is approved when other medications have been tried or if you have
certain medical conditions that can only be treated by a specific prescription. Examples of medications
managed through Step Therapy include, but are not limited to, Celebrex, Aciphex and Crestor. You must
meet certain criteria before these medications are covered by the Plan.
Example: Your physician prescribes Crestor to treat high cholesterol. Before your prescription is approved,
you must first try other drug options such as Lipitor or Simvastatin before Crestor will be approved.

If you have questions regarding a certain drug or about the Step Therapy process, call OptumRx at 1-888-
691-0169.
Step Therapy Examples

             Drug Categories                                Name of Drug


 Insomnia Agents                            Edluar, Zolpimist


 Gastrointestinal Agents                    Protonix Pak, Aciphex


 Topical Agents                             Protopic, Pimecrolimus




                                                                                                             32

       Case 2:24-cv-00807-NJ            Filed 06/28/24              Page 33 of 87   Document 1-2
Prior Authorization
Prior Authorization — Medical necessity review is performed on certain medications. These reviews
assure that medications are being dispensed for the appropriate reason. Your physician must provide
a medical necessity for approval by OptumRx. Your physician may call OptumRx at 1-888-691-0169.
The chart below shows some drug categories and names of drugs that may require prior
authorization.

Prior Authorization Examples


             Drug Categories                             Name of Drug


 Rheumatoid Arthritis                     Enbrel, Humira, Kineret

 Irritable Bowel Syndrome                 Lotronex

 Osteoporosis Drugs                       Prolia


Coverage of Preventive Care
Preventive care is covered at 100% for services which are recommended (with an “A” or “B” rating) by the
U.S. Preventive Services Task Force (USPSTF). This also includes some provisions covered under your
prescription drug coverage, which includes medications such as fluorides, folic acid, immunizations and
aspirins. Coverage is subject to certain age criteria as listed here:

        •   Aspirin 81mg: Prevent preeclampsia during pregnancy
        •   Fluoride: Oral dosages for children ages 6 months to 5 years
        •   Folic Acid: Oral dosages for women of childbearing age (18-45)
        •   Breast Cancer Prevention: For members who are at increased risk for breast cancer but
            have not had breast cancer, these preventive medications are available at $0 cost-share. To
            qualify, a member must:
                o Be age 35 or older
                o Be at increased risk for the first occurrence of breast cancer - after risk
                     assessment and counseling
                o Obtain prior authorization

Note that USPSTF recommendations for preventive care services are reviewed by the task force and may
be subject to changes. As a result, the Plan may add, remove or modify the level of specific services
under the preventive care benefit in order to comply with USPSTF recommendations and the law. For
detailed information on the drug coverage in the Plan, contact PeopleCare (888-800-4002) or OptumRx
(888-691-0169).




                                                                                                          33

       Case 2:24-cv-00807-NJ           Filed 06/28/24         Page 34 of 87     Document 1-2
Specialty Pharmacy Program

OptumRx offers a Specialty Pharmacy Program to assist you in managing the cost and quality of
services available to users of high-cost injectable medications. If you are using specialty medication to
treat chronic illness, participation in this program is mandatory. The OptumRx Specialty Pharmacy has
the experience to manage your condition and will work closely with you and your physician's office to
arrange delivery for your specialty medications.


If you use specialty medications to treat such medical conditions as hepatitis C, cancer and multiple
sclerosis, hemophilia or rheumatoid arthritis, you must obtain the medications through the
OptumRx Specialty Pharmacy Program for specialty medications to be covered.

Please note: Specialty medications must be obtained through OptumRx Specialty Pharmacy to be
covered.

The benefits of using the OptumRx Specialty Pharmacy Program include:

        •    Availability of educational materials as well as support or home instruction,
        •    Ancillary supplies such as syringes and needles at no additional charge,
        •    A higher level of coordination of care with your physician,
        •    Convenient access to a staff of pharmacists, nurses and care coordinators who are trained,
             specialists on the medications provided and the conditions being treated,
        •    Medication delivered promptly directly to your home, your doctor's office, or other specified
             location.


For the 30-day supply, you will pay the same member copay as if you used a retail pharmacy but will have
the added convenience of the medication being shipped to you and timely coordination for future refills.


Once OptumRx receives your prescription information, a patient care coordinator will contact you to
make all necessary arrangements.

If you have additional questions about the Specialty Pharmacy Program, call OptumRx at 1-855-427-4682.

Covered Expenses

OptumRx will consider the reasonable and customary charges made by a retail or mail service pharmacy for the cost
of brand or generic prescription drugs, and the charges to dispense them, as covered expenses. The Plan will cover
prescription drugs if they are obtained with a doctor's written prescription. The Plan will not cover over the counter
items, with the exception of injectable insulin and medically required diabetic supplies, the insurer will only cover
prescription drugs if they are obtained with a doctor's written prescription.




                                                                                                                         34

        Case 2:24-cv-00807-NJ                Filed 06/28/24         Page 35 of 87           Document 1-2
Exclusions

Your prescription drug coverage does not pay for any prescription drug expenses incurred by a covered person which
are not medically necessary, or which are above reasonable and customary charges. In addition, your prescription
drug coverage does not pay for any:


        •   Charges incurred by a covered person before coverage is effective or after coverage ends.

        •   Drugs or medicines that may be obtained without a doctor's prescription. OptumRx, however, will pay
            for injectable insulin purchased at a doctor's direction.

        •   Prescription drugs which are provided to you free of charge from local, state or federal programs.

        •   Immunization agents, biological serum, whole blood or blood plasma or the charges to administer these
            items.

        •   Charges made to administer a prescription drug or insulin to you.

        •   Drugs or medicines to be taken by or administered to you while confined in: (a) a hospital; (b) an alcohol
            or drug treatment center; (c) a skilled nursing facility; or (d) any similar institution. These charges may
            be covered through Aetna, BCBS, Cigna or UHC. See the Medical SPDs for more information.

        •   Charges which exceed the frequency, quantity supply limits, dispensing limits or maximum benefits.

        •   Refills which exceed the number prescribed by a doctor, or any prescription filled more than one year
            after the date the prescription is written.

        •   Charges for drugs for which you failed to obtain a required Prior Authorization from OptumRx.

        •   Experimental drugs and those that are labeled: "Caution - limited by federal law to investigational use";
            such drugs are not covered, even though a charge may be made to the patient. This does not apply to
            those drugs recognized under federal law as being medically appropriate for the specific type of
            treatment of an illness.

        •   Drugs used for cosmetic purposes, including but not limited to Retin-A for wrinkles, etc., unless you
            obtain Prior Authorization from OptumRx.

        •   Drugs used for hair growth.
        •   Non-prescription antihistamines, cough or cold products.
        •   Maintenance drugs obtained through a retail pharmacy (other than Walgreens) after the second retail fill
            within a 365-day period. Two retail fills within a 365-day period per each maintenance drug (except for
            certain diabetic supplies which may be obtained only one time at a retail pharmacy) are permitted.

        •   Drugs used for fertility purposes, unless you obtain Prior Authorization from OptumRx. Fertility drugs are
            limited to a seven-month lifetime maximum.

        •   Charges for Allergy Serum and immunizations. These charges may be covered through Cigna or UHC.
            See the Medical Section of this Handbook for more information.

        •   The Plan specifically excludes a variety of compound medications which may change, at any time, without
            notice to you. The compound drug selection exclusion criteria are as follows: Bulk chemicals for vitamins
            and supplements typically available over the counter; Products for cosmetic uses; Medications used in
            compounding topical formulations when the medication is not approved by the Food and Drug
            Administration for this form of administration.




                                                                                                                          35

        Case 2:24-cv-00807-NJ               Filed 06/28/24          Page 36 of 87          Document 1-2
Dental Coverage
Visiting your dentist regularly is one of the best ways to prevent serious and costly dental problems. The
Labcorp Dental Plan (referred to in this section as the “Dental Plan” or “Plan”) covers most preventive and
diagnostic services in full and provides comprehensive coverage for a wide variety of other dental services.
Please refer to the Summary Plan Description on Benefits Central for each plan listed below for more details.
                                             •   Labcorp Dental PPO

                                             •   Labcorp Dental HMO




                                                                                                                36

       Case 2:24-cv-00807-NJ             Filed 06/28/24         Page 37 of 87        Document 1-2
Vision Coverage

Vision care is an important part of any comprehensive health care program. Of course, vision care is more than
just a change in an eyeglass prescription — it's also regular checkups that alert you to vision problems that can
become serious if left untreated. Labcorp Vision Plan coverage provides benefits for eye examinations,
frames/lenses and contact lenses up to certain limits.
Through the Labcorp Vision Plan - (referred to in this section as the “Vision Plan” or “Plan”), you have access to
the largest eye doctor network in the U.S. You also have the freedom to choose to receive vision care and
materials provided through a non-network provider.

To learn more about your vision coverage, refer to the information in this section of your Personal Choice
Benefits Handbook. You will find additional information about eligibility, enrolling for coverage, paying for
coverage, when your coverage starts and stops and other important information in the Overview Section of the
Handbook.


Quick Reference Guide
Use this “Quick Reference Guide” to find out — at a glance — what type of coverage the Labcorp Vision Plan
provides. Then refer to the rest of this section of your Personal Choice Benefits Handbook for more information
about this Plan.

VISION STANDARD PLAN FEATURE                        BENEFIT LEVELS
                                                    In-Network                Out-of-Network
Annual Eye Exam                                     $20 copayment             $20 copayment and balance due
(Once every calendar year)                                                    after the Plan pays up to $47
Lenses                                              $0 copayment for eye
                                                                              Balance due after the Plan pays
(Basic cost of single vision, bifocal, trifocal,    glass lenses or frames
progressive, every calendar year)
                                                                              up to:
                                                                              Single Vision: $48
                                                                              Bifocal: $69
                                                                              Trifocal: $85
                                                                              Lenticular: $125
                                                                              Progressive: $69

Frames                                              $20 copayment and         Balance due after the Plan pays
(Every other year)                                  balance due after the     up to $45
                                                    Plan pays up to $120
Contact Lenses, Medically Necessary                 Covered in full           Balance due after the Plan pays
(Every calendar year; in lieu of lenses and                                   up to $210
frames)
Contact Lenses, Elective                            Balance due after the     Balance due after the Plan pays
(Every calendar year; in lieu of lenses and         Plan pays up to $150      up to $105
frames)
VISION PREMIUM PLAN FEATURE                         BENEFIT LEVELS
                                                    In-Network                Out-of-Network
Annual Eye Exam                                     Covered in Full           Balance due after the Plan pays
(Once every calendar year)                                                    up to $52


                                                                                                                    37

        Case 2:24-cv-00807-NJ                 Filed 06/28/24      Page 38 of 87         Document 1-2
Lenses                                              Covered in Full
                                                                                Balance due after the Plan pays
(Basic cost of single vision, bifocal, trifocal,
                                                                                up to:
progressive, every calendar year)
                                                                                Single Vision: Up to $55
                                                                                Bifocal: Up to $75
                                                                                Trifocal: Up to $95
                                                                                Lenticular: Up to $125
                                                                                Progressive: $75

Frames                                              Balance due after the       Balance due after the Plan pays
(Every calendar year)                               Plan pays up to $180        up to $70
Contact Lenses, Medically Necessary                 Covered in Full             Balance due after the Plan pays
(Every calendar year; in lieu of lenses and                                     up to $210
frames)
Contact Lenses, Elective                            Balance due after the       Balance due after the Plan pays
(Every calendar year; in lieu of lenses and         Plan pays up to $180        up to $105
frames)
If you have any questions about the Vision Plan's benefits, limitations, or exclusions, call Vision Service Plan
(VSP) Customer Service at 1-800-877-7195.



A Closer Look At How the Vision Plan Works
The Labcorp Vision Plan is insured by Ameritas Life Insurance and administered by Vision Service Plan (VSP).
VSP's customer service number is 1-800-877-7195.
Keep in mind that you can use the Health Care Flexible Spending Account to reimburse yourself for covered
vision expenses above Plan maximums.
Visit VSP at www.vsp.com for general information about your Labcorp Vision Plan benefits.

Plan Features
•    You can locate a network provider by calling VSP or on the VSP Web site.
•    You can also use non-network providers.
•    Using network providers, however, results in a higher level of benefits and no claim forms to file.


How to Access Vision Plan Benefits
When Using a Network Provider:
1.   You can locate a participating provider by visiting the Web site at www.vsp.com or by calling VSP at 1-800-
     877-7195.
2.   Make an appointment and identify yourself as a VSP member.
3.   When services are complete, pay the required copayment. You have no claim forms to file; your provider
     will file claims with VSP.

When Using an Out-of-Network Provider:
1.   Make an appointment.
2.   Pay the full amount for services.
3.   Obtain an itemized receipt, including your name, mailing address, Social Security number and the patient's
     name, and send copies of this documentation to VSP for reimbursement:
     Vision Service Plan
     PO Box 385018
     Birmingham, AL 35238-5018
                                                                                                                   38

        Case 2:24-cv-00807-NJ                 Filed 06/28/24       Page 39 of 87         Document 1-2
4.   Please note that claims for reimbursement must be filed within six months of the date of service.
     Reimbursements are made directly to you, not the provider.


Other Important Information
Lenses and Frames
VSP covers a wide selection of frames, but not all frames will be covered in full. If you select a frame that
exceeds the Plan's allowance, these additional charges are administered at VSP's controlled costs. VSP also
has controlled costs for cosmetic options, which are generally less than usual and customary fees. In addition,
VSP provides a 20% discount on non-covered pairs of prescription glasses.
After the annual copayment, the Plan provides a benefit for the cost of eyeglass lenses OR medically
necessary contact lenses once every calendar year. You cannot receive coverage for lenses AND contact
lenses in the same calendar year.

Elective Contact Lenses
If you enroll in the Standard Vision Plan and purchase contacts, you will be eligible for complete eyeglasses
(frames and lenses) in 2 years. If you enroll in the Premium Vision Plan and utilize the contact benefit, you will
be eligible for benefit reimbursement on frames & lenses the following calendar year.
VSP includes a 15% discount on average off a participating doctor's fees when you purchase prescription
contact lenses. Materials are provided at usual and customary fees. This benefit is available in conjunction with
your VSP contact lens allowance, or you can use it to purchase contacts in addition to glasses.

Medically Necessary Contact Lenses
Medically necessary contact lenses are covered in full when prescribed by a participating doctor for one of the
following conditions:

•    following cataract surgery,
•    to correct extreme vision problems that cannot be corrected with spectacle lenses,
•    with certain conditions of anisometropia, or
•    with certain conditions of keratoconus.
Your participating provider must receive approval from VSP before prescribing medically necessary contact
lenses.


What the Labcorp Vision Plan Covers
The Labcorp Vision Plan covers the following services and supplies:

•    vision exams, including:
     − external exam of the eye and adnexa
     − ophthalmoscopic exam
     − determination of refracture status
     − binocular balance
     − tonometry test for glaucoma
     − gross visual field when necessary
     − summary finding
     − prescribing of lenses
•    services provided by licensed doctors of medicine, including specialists in ophthalmology and licensed
     doctors of optometry, and
•    suppliers such as opticians and retail optical firms licensed to make, fit, supply and adjust eyeglasses
     according to prescriptions written by licensed providers.




                                                                                                                     39

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 40 of 87          Document 1-2
What the Labcorp Vision Plan Does Not Cover
The following services and materials are not covered through the Labcorp Vision Plan:

•   orthoptics or vision training and any associated supplemental testing,
•   plano lenses (non-prescription),
•   two pair of glasses in lieu of bifocals,
•   lenses and frames furnished under this program that are lost or broken (except at the normal intervals
    when services are otherwise available),
•   medical or surgical treatment of the eyes,
•   corrective vision services, treatments and materials of an experimental nature,
•   vision exams more than once in a calendar year,
•   prescribed lenses more than once in a calendar year,
•   exams performed or frames or lenses ordered after your coverage ends, unless coverage is continued
    through an extension of benefits,
•   sub-normal vision aids,
•   non-prescription lenses or non-prescription sunglasses,
•   any eye exam or corrective eyewear required by an employer,
•   any service or supply not specifically covered by the Plan,
•   diagnostic services such as X-rays, pathological tests and lab tests,
•   costs of premiums insuring against losses of lenses or frames,
•   job-related injuries or occupational diseases,
•   services covered by another group plan, expenses incurred before or after you or any eligible dependents
    were covered by the Plan,
•   cosmetic lenses, and
•   coating or laminating of the lens or lenses.
Be sure to call VSP for additional information about the Plan's limitations.




                                                                                                               40

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 41 of 87        Document 1-2
Flexible Spending Accounts
Labcorp gives you the opportunity to enroll in the Health Care Flexible Spending Account and/or the Dependent
Care Flexible Spending Account as a newly eligible employee or each year during Annual Benefits Enrollment.
These accounts give you ways to pay for certain eligible health care and dependent care expenses using your
before-tax pay. Your decision to participate in either or both accounts is based on your needs and personal
situation. It's important that you understand the advantages and limitations of Flexible Spending Accounts
(FSAs) before you decide whether or not to participate.
To learn more about the FSA Plan, refer to the information in this section of your Personal Choice Benefits
Handbook. You will find additional information about eligibility, enrolling for coverage, paying for coverage,
when your coverage starts and stops and other important information in the 2023 Overview Section of the
Handbook.

Quick Reference Guide
Based on your personal needs, you have the option to participate in either or both Flexible Spending Accounts
(FSAs):

•   Health Care Flexible Spending Account, and/or
•   Dependent Care Flexible Spending Account.
Be sure you learn as much as possible about these accounts before you enroll. This will help you set aside an
amount of before-tax pay you feel certain you will spend on health care or dependent care expenses during the
year.

STEPS TO FOLLOW                ABOUT THE PLANS
Before Enrollment              Health Care FSA (limits: a minimum contribution of $120 up to a maximum of
(decide in which FSA(s) to     $2,850 per calendar year)
enroll)
                               Dependent Care FSA (limits: a minimum contribution of $120 up to a maximum
                               of $5,000 per calendar year)
During Enrollment              Estimate out-of-pocket expenses (not covered by a health plan) for prescription
                               drug copays and coinsurance, dental and vision and unreimbursed medical
                               expenses.
                               Calculate your estimated dependent care expenses using the guidelines in this
                               section

During the Year                Before-tax contributions from your pay go into your account(s):
                               Health Care FSA: Use your Spending Account Card to pay for eligible health
                               care expenses
                               Dependent Care FSA: Use tax-free reimbursements from your account to pay
                               for eligible dependent care expenses
At Year-End                    All claims for reimbursement for eligible health care expenses for a calendar
                               year plus the 2 ½ month grace period thereafter — including all supporting
                               documentation — must be postmarked no later than June 15 of the following
                               year.
                               All claims for reimbursement for eligible dependent care expenses for a calendar
                               year must be postmarked by March 31 of the following year
                               “Use it or lose it” — You lose any money you don't claim in your account(s) after
                               the deadline for filing reimbursement requests




                                                                                                                   41

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 42 of 87          Document 1-2
Your Flexible Spending Account (FSA) Contributions
When you establish a Health Care and/or a Dependent Care FSA, you choose the annual amount you want to
contribute, up to certain limits. This amount is deducted from your paycheck in equal installments before
federal, state (except in New Jersey and for dependent care expenses in Pennsylvania), most local income
and Social Security taxes are withheld.
You can enroll in an FSA during Annual Benefits Enrollment or as a new hire or newly eligible employee. If you
are enrolled in an FSA and experience a “change in family or employment status” (Qualified Status Change),
you can change your FSA election during the year if the change is because of and consistent with the Qualified
Status Change. See “Overview Changing Your Coverage During the Year.”
If you are rehired within 31 days of termination, your FSA elections will be reinstated automatically. If you are
rehired more than 31 days following your termination but during the same plan year, you will be able to make
new elections for the remainder of the plan year in which you are rehired.
Because you don't pay Social Security taxes on your contributions, your FSA contributions may reduce your
wages reported for Social Security purposes. The effect on your future Social Security benefit at disability or
retirement is usually very small.

The Before-Tax Advantage
Making before-tax contributions through automatic payroll deductions lowers the amount of current income
taxes and Social Security taxes that you would otherwise be required to pay. That's because the tax withheld
from your pay will be based on your pay after your contributions to your FSAs rather than on your total pay.
See “Overview; How You Pay for Coverage.”


A Closer Look At How the Flexible Spending Accounts Work
You can set up two separate accounts — one for eligible health care expenses and one for eligible dependent
care expenses. These are two separate accounts for two separate purposes. The amounts credited to one
account can't be used to satisfy expenses in the other account. You can participate in either of these accounts
or both — or none at all — depending on your needs.
Flexible Spending Accounts reimburse you for eligible expenses with before-tax dollars. If you enroll in the
Health Care FSA you will receive an Optum Financial Spending Account Card which you can use to pay for
eligible health care expenses. The Optum Financial Spending Account Card enables you to pay for eligible
health care expenses with a simple swipe of the card wherever the Visa® brand mark is displayed. The
Dependent Care FSA still requires that you go through the claim form reimbursement process. After you have
an eligible expense, you submit a claim for reimbursement. Your eligible expense will be reimbursed from your
available Dependent Care FSA account balance. If your Dependent Care FSA account balance is not
sufficient to reimburse the entire amount claimed, you will be reimbursed any remaining amount when your
Dependent Care FSA account has a balance available. The reimbursements you receive are tax-free.
It's important for you to understand how to use the Optum Financial Spending Account Card and how to file your
Dependent Care FSA claims. See the section on how to file an FSA claim below.


Health Care Flexible Spending Account
Contribution Limits
You may contribute up to $2,850 per year as a before-tax contribution to your Health Care FSA. The minimum
amount you can contribute is $120 per year. You can request reimbursement from your Health Care FSA on
January 1 or the effective date of your coverage, if later. On that date the full amount you elected to contribute
is available.




                                                                                                                     42

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 43 of 87         Document 1-2
Eligible Dependents
In general, an eligible dependent under the Health Care FSA is anyone you are legally able to claim as a
dependent on your federal income tax return. This includes your immediate family members, a close relative or
other person whose primary residence is your home and for whom you provide over 50% support. In most
cases, a domestic partner is not considered an eligible tax dependent and therefore is not eligible for purposes
of the Health Care FSA.
Remember, the definition of dependent under the Health Care FSA is different from other plans in this Personal
Choice Benefits Handbook.

Eligible Health Care Expenses
If you enroll in the Health Care FSA, you can use your Optum Financial Spending Account Card to pay for
certain eligible health care expenses. Or, if necessary, you can submit a Reimbursement Request form to be
reimbursed for eligible expenses that you or your dependents incur during the calendar year (plus the 2½
month grace period) in which you participate in the Plan. Certain items such as over-the-counter medications
cannot be purchased using your Optum Financial Spending Account Card unless you have a doctor’s
prescription. However, you can still use your Optum Financial Spending Account Card to purchase non-drug
over-the-counter items such as bandages, contact lens solution and thermometers. To be eligible, expenses:

•   cannot have been reimbursed in full by the Labcorp medical, no charge laboratory testing, dental or vision
    plans or any other insurance policies that cover you or your dependents, and
•   in general, must be considered deductible medical care expenses for income tax purposes under Section
    213(d) of the Internal Revenue Code.
Examples of eligible health care expenses — to the extent not covered by another plan — include:

•   charges above coverage maximums or reasonable and customary limits,
•   contact lenses, solutions and other supplies,
•   over-the-counter medications (e.g., medicines for allergies and colds, pain relievers, antacids, lactaid for
    lactose intolerance) as long as you have a valid prescription from your doctor for these medications,
•   copayments and deductibles not covered by medical, dental or vision insurance,
•   hearing aids,
•   orthodontia (restrictions apply, please contact the FSA Claims Administrator for details),
•   Lasik eye surgery,
•   smoking cessation programs (even if not prescribed by a physician), and
•   nicotine patches if prescribed by a physician.
For a complete list of eligible health care expenses, ask for Publication 502 from your local IRS office or on the
IRS website at www.irs.gov.

Coordination of Health Care FSA and the Health Reimbursement Account
If you are enrolled in Labcorp medical coverage with a Health Reimbursement Account, it is important to
understand what expenses can be paid from each account. The chart below describes which expenses can be
paid from each account:

HEALTH CARE FSA ELIGIBLE EXPENSES                          HEALTH REIMBURSEMENT ACCOUNT ELIGIBLE
                                                           EXPENSES
•    Medical - only if the Health Reimbursement            •   Medical
     Arrangement (HRA) Account balance is $0               •   Prescription Drugs
•    Prescription Drugs - only if the HRA Account
     balance is $0
•    Over-The-Counter Medications prescribed by a
     physician
•    Dental
•    Vision
If you have questions about a particular expense, you should contact Optum Financial at the numbers below.
                                                                                                                     43

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 44 of 87         Document 1-2
If you have both a HRA Account and a Health Care FSA, your medical and prescription drug expenses not
covered under the Labcorp Medical Plan will be reimbursed first from your a HRA Account. This applies to
both card transactions and any paper claims submitted. Once your a HRA Account balance is zero, medical
and prescription drug expenses not covered under the Labcorp Medical Plan will be reimbursed from your
Health Care FSA. During the first 2½ months of each calendar year (grace period), medical and prescription
drug expenses continue to be reimbursed from your HRA Account and then the remainder of your Health Care
FSA balance. Dental and vision expenses not covered under the Labcorp Medical, Dental and Vision Plans
are always reimbursed only from your Health Care FSA.

The Optum Financial Spending Account Card
When you enroll in the Health Care Flexible Spending Account you will automatically receive a Optum Financial
Spending Account Card from the claims administrator. The card enables you to pay eligible health care expenses
with a simple swipe of the card. Use the card when you incur an eligible expense, and the money will be
automatically deducted from your Health Care FSA. In most cases, you won't need to file a paper claim. It is always
a good idea to keep your Optum Financial Spending Account Card receipts in case the claims administrator needs
to validate your expenses in order to comply with the Internal Revenue Service (IRS) regulations that govern the
Health Care FSA.
When using your Optum Financial Spending Account Card, here are several things you should keep in mind:

•   Your Optum Financial Spending Account Card is accepted at pharmacies, dental offices, vision providers,
    physician offices and hospitals that display the Visa® brand mark. When making a payment for eligible health
    care expenses, you should select "credit" when prompted. You can also use the Optum Financial Spending
    Account Card to purchase eligible mail-order items, such as prescription medications, by simply entering your
    card number online or on the form as you would a credit card number.
•   If a provider or facility does not accept the Optum Financial Spending Account Card, you will need to pay for
    the expense out of your pocket, and submit the claim form to Optum Financial for reimbursement. You will
    receive your reimbursement check from Optum Financial within two to three weeks from the date your
    Request for Reimbursement form is received.
•   You can only use your Optum Financial Spending Account Card to pay for health care expenses that are
    considered eligible by the IRS as discussed above in the section entitled "Eligible Health Care Expenses." If
    you purchase ineligible items at the same time you pay for eligible expenses (such as buying shampoo and gum
    while you are paying for a prescription at a pharmacy), you must pay for the ineligible items separately. If you
    purchase both eligible and ineligible items using your Optum Financial Spending Account Card, you will be
    required to submit receipts to Optum Financial for the transactions.
•   If the amount of your health care expense is greater than your Health Care FSA balance, the transaction will be
    denied. If you know how much is left in your Health Care FSA, ask the merchant to charge the remaining
    amount on your Optum Financial Spending Account Card and offer to pay the balance owed on the transaction
    with another form of payment. You can confirm the remaining balance of your FSA by calling the PeopleCare
    Advocacy Center number printed on the back of your Optum Financial Spending Account Card.
•   You cannot use your Optum Financial Spending Account Card to make payments from your Dependent Care FSA.
•   You cannot use your W Optum Financial Spending Account Card to withdraw cash from an ATM.
•   If you have both the Health Care FSA and the Health Reimbursement Account (HRA) and you are seeking
    services for an eligible dependent who is not covered under the Labcorp Medical Plan, you will not be able to
    use the Optum Financial Spending Account Card at the point of sale. You will need to submit a paper claim for
    reimbursement of eligible expenses.
If you are enrolled in the Labcorp Medical Plan, it is important to remember that you cannot use the Optum Financial
Spending Account Card for eligible medical and prescription drug expenses until your Health Reimbursement
Account balance has reached zero.




                                                                                                                       44

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 45 of 87          Document 1-2
Ineligible Health Care Expenses
The IRS has a list of health care expenses it does not consider deductible for income tax purposes. Here is a
partial list of ineligible health care expenses:

•   accident and other health care and dental insurance premiums paid on a pre-tax basis,
•   athletic club memberships, spas and non-prescribed weight loss plans,
•   expenses reimbursed by another insurance or spending account plan,
•   expenses not qualified by the IRS,
•   expenses claimed as deductions on a federal tax return,
•   expenses incurred before you were, or after you ceased to be, a spending account participant,
•   cosmetic surgery and related expenses (that improve appearances but do not prevent or treat illness or
    disease),
•   hair loss treatments or transplants,
•   funeral or burial expenses, and
•   teeth whitening or bleaching.
Keep in mind that eligible expenses that are paid from your Health Reimbursement Account cannot also be
submitted for reimbursement through your Health Care FSA.
If you are uncertain as to whether a health care expense qualifies for reimbursement under the Health Care
FSA, you may call the PeopleCare Advocacy Center at 1-888-800-4002.


Dependent Care Flexible Spending Account
Contribution Limits
In the Dependent Care FSA, you may contribute up to $5,000 per year. The minimum amount you may
contribute per year is $120. The $5,000 annual maximum applies to all contributions made by you and your
spouse to a dependent care flexible spending account through Labcorp and any other employer.
In the case of a divorce, only one parent can contribute to a Dependent Care FSA. If you are considered the
custodial parent, you can contribute up to $5,000 to the Dependent Care FSA.

Contribution Amounts If You Are Married
IF THIS IS YOUR SITUATION . . .                       THEN YOUR MAXIMUM ANNUAL CONTRIBUTION
                                                      IS:
Your spouse also participates in a Dependent          Up to $5,000 combined for both accounts or, if lower,
Care Flexible Spending Account …                      the amount the lower-paid spouse earns
You file separate federal income tax returns …        Up to $2,500 through the Labcorp Dependent Care
                                                      Flexible Spending Account
Your spouse is a full-time student for at least       Up to $2,600 if you have one dependent
five months of the year or is totally disabled …      Up to $5,000 if you have two or more dependents




                                                                                                                45

       Case 2:24-cv-00807-NJ              Filed 06/28/24        Page 46 of 87         Document 1-2
Eligible Dependents
You can be reimbursed for dependent care expenses you have in a Plan year, if the expenses are necessary to
allow you and your spouse — if you're married — to work.
These services may be provided inside or outside your home by baby-sitters, companions or eligible day care
centers. Services may not, however, be provided by someone you claim as a dependent on your tax return.
Your dependent care expenses must be for a:

•   dependent child who is under age 13 for whom you are eligible to claim an exemption on your tax return,
•   disabled spouse, or
•   disabled dependent including a child, parent, grandchild, sibling, niece/nephew, aunt/uncle, in-law or
    stepchild who is physically or mentally incapable of caring for himself or herself.
Remember, the definition of dependent under the Dependent Care FSA is different from other Labcorp benefit
programs.
For a complete list of eligible dependent care expenses, ask for Publication 503 from your local IRS office or on
the IRS website at www.irs.gov.

Eligible Dependent Care Expenses
You can be reimbursed through the Dependent Care FSA for the cost of:

•   care provided inside or outside your home by someone over age 19 who is not your dependent,
•   day care centers qualified under state or local law, that provide care for at least six individuals not normally
    living at the center,
•   FICA and other taxes you may pay for eligible providers,
•   preschool or summer program tuition,
•   before and after school care expenses, up to age 13.

Ineligible Dependent Care Expenses
Expenses that cannot be reimbursed through the Dependent Care FSA include:

•   care or services provided by your spouse, children under age 19 or anyone you could claim as a legal
    dependent for federal income tax purposes,
•   child support payments,
•   healthcare expenses for you and your dependents,
•   expenses for overnight camps,
•   expenses reimbursed by another spending account plan,
•   expenses you claim as a credit on a federal tax return,
•   expenses you had before you were, or after you ceased to be, a spending account participant,
•   food, clothing or entertainment for a dependent,
•   general baby-sitting other than during work hours,
•   nursing home expenses, unless the dependent spends at least eight hours a day in your household,
•   private school tuition,
•   kindergarten tuition, and
•   transportation to or from the dependent care location.
If you are uncertain as to whether a dependent care expense qualifies for reimbursement under the Dependent
Care FSA, call the PeopleCare Advocacy Center at 1-888-800-4002 for assistance.




                                                                                                                       46

       Case 2:24-cv-00807-NJ               Filed 06/28/24          Page 47 of 87         Document 1-2
Additional Information About Your Flexible Spending
Accounts
Tax Considerations
You may prefer to use your dependent care expenses to claim a childcare credit when you file your federal tax
return. The childcare credit means that you use a special formula to determine the amount of any credit for
which you qualify. The credit is then subtracted from any tax you owe.
The Dependent Care Flexible Spending Account is an alternative way to save taxes for those employees who
may prefer not to file for the childcare credit. Certain individuals may be better off using the childcare credit
instead of the FSA. A tax advisor can help you figure out which option is better for you.
You cannot claim the same expenses for a tax credit and for reimbursement. But childcare expenses that are
not reimbursed may still be eligible for the childcare credit on your income tax form. However, any amount you
receive through the spending account reduces on a dollar-for-dollar basis the expense amount that you can
consider when calculating the tax credit. Any expenses reimbursed from your spending accounts cannot be
deducted when you file your income tax return.

ACCOUNT RESTRICTIONS
The IRS restricts FSAs in several ways:
• Amounts contributed to one spending account cannot be used to pay expenses from the other.
• If there is any amount left in either of your accounts after the deadline for filing reimbursement requests,
    the excess contribution cannot be returned to you. (This is called the “use it or lose it” rule.) Forfeited
    amounts will be used to pay the costs of administering the FSAs.
• Only eligible expenses incurred while you are covered by the Plan and in the calendar year for which you
    have made contributions (or, with respect to the Health Care FSA, the 2 1/2 month grace period after the
    end of the calendar year), may be submitted for reimbursement.
• All eligible Health Care FSA expenses for 2023 that require a paper claim form, including all supporting
    documentation, must be postmarked to Optum Financial no later than June 15, 2024 to receive
    reimbursement.
• All eligible Dependent Care FSA expenses for the 2023 calendar year, including all supporting
    documentation must be postmarked to Optum Financial no later than March 31, 2024 to
    receive reimbursement.


How to File a Claim for Benefits
To receive reimbursement from your FSAs, obtain a Request for Reimbursement form from Benefits Central or
on the Optum Financial website. Reimbursement for FSA claims is not immediate. You will receive your
reimbursement check within two to three weeks from the date your Request for Reimbursement form is
received, provided you have included all necessary information and documentation. Claims may be submitted
online through Optum Financial for reimbursement and may elect for the reimbursement to be automated
through your bank account.

How to File a Health Care FSA Claim (If Needed)
1.   Carefully complete the Request for Reimbursement form.
2.   Attach a fully itemized bill for services (including specific dates of service) and/or an Explanation of
     Benefits (EOB) statement. (In order to receive an EOB, you must first file a claim with your or your
     spouse's health care plan.)
3.   Make copies of the documentation for your personal files.
4.   Send the completed Request for Reimbursement form along with the required documentation to
     Optum Financial at the address or fax number listed on the form.




                                                                                                                    47

        Case 2:24-cv-00807-NJ               Filed 06/28/24          Page 48 of 87         Document 1-2
How to File a Dependent Care FSA Claim
1.   Carefully complete the Request for Reimbursement form.
2.   Attach a receipt for dependent care services that includes the following information:
     • dependent's name and age
     • costs and dates of service provided
     • provider's name and address, and
     • provider's tax ID number or Social Security number.
3.   Make copies of the documentation for your personal files.
4.   Send the completed Request for Reimbursement form along with the required documentation to the Claims
     Administrator at the address or fax number listed on the form.




                                                                                                         48

        Case 2:24-cv-00807-NJ           Filed 06/28/24       Page 49 of 87        Document 1-2
Comprehensive Disability Coverage
One of the greatest threats to financial security is disability — being unable to work and earn continuing
income. While no one likes to think about being disabled, it does happen.
At Labcorp, you have broad protection against this kind of loss from three separate but closely related
coverages:

•   Paid Time Off (PTO), administered by Labcorp,
•   Flexible Time Off (FTO), administered by Labcorp,
•   Short Term Disability (STD), administered by Reed Group, and
•   Long Term Disability (LTD), insured by New York Life Group Benefit Solutions (formerly Cigna)
To learn more about Labcorp disability coverage, refer to the information in this section of your Personal
Choice Benefits Handbook. You will find additional information about eligibility, enrolling for coverage, paying
for coverage, when your coverage starts and stops and other important information in the 2023 Overview
Section of the Handbook.

Your Disability Coverage

Comprehensive Disability coverage includes three separate parts — Paid Time Off (PTO) or Flexible Time Off (FTO),
the Short Term Disability (STD) Plan and the Long Term Disability (LTD) Plan. Here's how they work together to
provide you with income protection if you are unable to work as a result of disability due to illness, injury or
pregnancy.


         •   Non-exempt employees begin accumulating PTO hours from your date of hire — the amount of PTO
             hours available to you will depend on your employment status and length of service. You can use
             earned PTO to provide you with income while you satisfy the waiting period before STD benefits begin.
             You may borrow PTO, according to the guidelines of the PTO policy, if you have not accrued enough
             PTO to cover the waiting period. Exempt employees will use FTO to satisfy the STD waiting period.
         •   Disability coverage goes into effect on the first day of the month following 30 days of employment.
         •   If you are non-exempt and have sick time hours that were "grandfathered" under a previous benefit
             plan, all of these hours must be paid out first before any PTO or STD benefits are paid relating to your
             disability. In the event your employment terminates, you are not entitled to have any grandfathered sick
             time paid out. Please contact Human Resources for additional information regarding the use of
             grandfathered sick time hours.


Any leave to which you are entitled under the Family Medical Leave Act (FMLA) or any applicable state leave
laws may run concurrently with your Labcorp disability benefits.


Common Features in the STD and LTD Plans

Please refer to the Paid Time Off (PTO) policy for an explanation of your PTO benefits. Please refer to the Flexible
Time Off (FTO) policy for details about the FTO provisions. Certain Disability Plan features are common to both the
STD and LTD Plans. These are:

Exclusions for Pre-Existing Conditions

During the first 12 months of coverage, the Labcorp LTD plan does not pay benefits if your disability results from
a pre-existing condition.

                                                                                                                        49

        Case 2:24-cv-00807-NJ                Filed 06/28/24          Page 50 of 87          Document 1-2
Your disability is a result of a pre-existing condition if it is the result of an illness, injury or pregnancy for which you
have seen a medical practitioner or taken medication during the 3 months before your LTD coverage becomes
effective.


If you return from military leave, you may resume the disability coverage in effect prior to your leave. You will not be
required to satisfy a new pre-existing condition waiting period if the entire 12-month waiting period had previously
been satisfied.


Other Exclusions For STD and LTD Plans

No STD or LTD benefits are payable for any disability caused by:
         •    war or any act of war, whether declared or not,
         •    suicide, attempted suicide or self-inflicted injury, while sane or insane,
         •    taking part in or committing any crime, riot or terrorist act,
         •    Injury or sickness which resulted from the performance of duties within the functions of military service,
              or
         •    revocation, restriction or non-renewal of your license, permit or certification necessary for you to perform
              the duties of your occupation, solely due to injury or illness (unless otherwise covered by these Plans.)


In addition, no benefits are payable if you:


         •    are confined to any facility because you were convicted of a crime or public offense, or
         •    willfully make false statements or representations for the purpose of obtaining benefits, or
         •    receive Unemployment Compensation during the period you are claiming benefits under the STD Plan.


Short Term Disability (STD) Benefit Summary

The following is a summary of the Labcorp Short Term Disability Plan.

When Coverage Begins

You are automatically enrolled in the Disability Plan. If you are not actively at work due to an illness, injury or
pregnancy on the date your STD coverage would have been effective, your STD coverage begins on the first day you
return to work at Labcorp.


When Coverage Ends

Your coverage under the STD Plan ends on the earliest of the following:


         •    midnight on the last day of the month during which your employment with Labcorp terminates;
         •    the date you change your employment to an ineligible class of employment;
         •    the date you work for a Labcorp entity that has not adopted the Disability Plan;
         •    the date you have been on a leave of absence for a reason other than disability for more than 6 months;
         •    the date you die; and
         •    the date Labcorp terminates the Plan.




                                                                                                                               50

         Case 2:24-cv-00807-NJ                  Filed 06/28/24            Page 51 of 87            Document 1-2
Benefit Waiting Period

STD benefits begin after you meet the Plan's benefit waiting period. Benefits will begin on the earlier of the following:


         •    the day after your 5th consecutive work day of absence due to disability, or
         •    the day after the day your total number of hours of disability are equal to the number of hours you are
              regularly scheduled to work in a calendar week. The hours of disability required for you to satisfy your
              benefit waiting period must be incurred within 30 days from the onset of your disability.


If you have PTO hours available, you must use your PTO hours in order to have income during the benefit waiting
period. Exempt employees will use FTO for the waiting period.
What “Disabled” Means under the STD Plan

Under the STD Plan, you are disabled if:


         •    You are unable to perform one or more of the material duties of your regular occupation solely because
              of disease, injury or pregnancy, and
         •    You are unable to perform one or more of the material duties of any position Labcorp makes available
              for which you are qualified, and
         •    You are under the regular care and supervision of a Health Care Provider approved by the claims
              administrator.


"Health Care Provider" means any physician or doctor of medicine, surgeon, optometrist, dentist, podiatrist,
osteopathic or chiropractic practitioner, psychologist, Licensed Clinical Social Worker, Certified Addiction Counselor,
Licensed Professional Counselor, Licensed Marriage and Family Counselor, Nurse Practitioner and Physician’s
Assistant who is approved by the claims administrator, duly licensed and acting within the scope of his or her practice
but cannot be you or your spouse, daughter, son, mother, father, sister or brother by blood or marriage or domestic
partner. "Psychologist" means a psychologist licensed in the state of practice, with a doctorate degree in psychology.
All Health Care Providers must be authorized to practice by the state and performing within the scope of their practice
as defined by State law.


Benefits are payable in the event of cosmetic surgery if the surgery is considered Medically Necessary; "Medically
Necessary" means the surgical procedure is:


(a) prescribed by a Physician as required treatment of the Injury or Sickness; and
(b) appropriate according to conventional medical practice for the Injury or Sickness in the locality in which the
surgery is performed. The length of time certified under the Plan will be determined through review of supporting
medical received from the physician.


(The Plan will pay benefits if the Disability is caused by the Employee donating an organ in a non-experimental organ
transplant procedure.)


Payment of Benefits

You will receive STD benefit payments through regular Labcorp payroll according to your normal payroll cycle. All
normal payroll deductions will continue with the exception of your contributions to the Employee Stock Purchase
Plan. When a period of Disability is less than a full week, the daily amount of benefit paid will be one-fifth (1/5th) of
the weekly benefit amount.


                                                                                                                            51

        Case 2:24-cv-00807-NJ                    Filed 06/28/24         Page 52 of 87           Document 1-2
Your STD benefits will be reduced by other sources of income, including, but not limited to any earnings paid to you
by Labcorp, workers' compensation, mandated state disability plans and any other benefits available to you under
federal, state or local law.


Amount of Benefits

The amount of your STD benefit depends on:


         •    your length of employment with Labcorp, and
         •    whether you are enrolled in Disability coverage.


When the claims administrator determines that you meet all of the requirements of the Plan, you will receive the
following Short Term Disability benefits if approved.


STD Benefits: If you are enrolled in the Labcorp Disability Plan prior to making a claim under the STD Benefit, STD
provides an enhanced disability income benefit as shown in the chart below:


          NON-EXEMPT STD BENEFITS (IF ENROLLED IN THE DISABILITY PLAN)

 Years of Service                                STD Coverage Amount

 Less than 3 years                               50% of earnings

 At least 3 years but less than 8 years          60% of earnings

 At least 8 years but less than 15 years         70% of earnings

 15 years or more                                80% of earnings

             EXEMPT STD BENEFITS (IF ENROLLED IN THE DISABILITY PLAN)

                                    STD Coverage Amount

                                             100%


Note:
         •    Earnings means your straight-time base pay including shift differentials and does not include overtime
              pay, bonuses or any other forms of extra compensation.
         •    For non-exempt employees, your STD benefits will be based on your years of service as of the day
              before the onset of your disability.
         •    “Service” for purposes of calculating STD benefits will be based on the most recent, continuous period
              of regular employment.


Maternity Benefits

The Disability Plan offers special coverage for mothers after the birth of their child. For natural births, mothers will
receive 100% of their base pay for five weeks after satisfying the required one week waiting period where PTO can
be used, providing a combined six weeks of STD leave. For a cesarean delivery, mothers will receive 100% of their
base pay for seven weeks after satisfying the required one week waiting period where PTO can be used, providing a
combined eight weeks of STD leave. Non-exempt employees may use up to 40 PTO hours, if available, to receive
pay during the required one week waiting period. Exempt employees will use FTO for the waiting period.

                                                                                                                           52

        Case 2:24-cv-00807-NJ                 Filed 06/28/24          Page 53 of 87           Document 1-2
Employees must be enrolled in Disability and be determined to be eligible at the onset of their claim in order to
receive maternity benefits.


When STD Benefits End

The claims administrator will determine if/when Plan benefits are payable. In no event will benefits continue beyond
the occurrence of any of the following:


         •   The date of your death;
         •   The date following 182 days of Disability;
         •   The date the claims administrator determines you are no longer disabled within the meaning of the Plan;
         •   The date you refuse to cooperate in an independent medical examination;
         •   The date your disability cannot be confirmed because you have failed to provide the appropriate
             medical evidence to the claims administrator;
         •   The date you refused employment offered by Labcorp at a job that can accommodate the limitations of
             your disability;
         •   Your employment with Labcorp terminates.

STD Benefits and Your Employment Status

Prior to STD coverage: You become eligible for coverage under the STD Plan on the first day of the month following
30 days of employment. If you are disabled before your coverage becomes effective and you are still disabled on the
day coverage would otherwise begin, you will not be eligible for STD benefits. If you are still disabled 182 days after
the onset of your disability, you will not be eligible for LTD benefits because you were not actively at work on the day
your LTD coverage would otherwise begin.


Disabled after 182 days: If you become disabled after your STD and LTD coverage become effective and you
remain disabled after the 182-day short term disability period, your employment with Labcorp may under certain
circumstances terminate. You will be notified if your employment will terminate. However, you will be eligible to apply
for LTD benefits, provided you had enrolled for Labcorp LTD coverage.

Continuous Disability

Two consecutive periods of disability are considered one period of disability if they are due to the same cause or
condition and are separated by no more than 30 calendar days of work at your normal work schedule. A new waiting
period will not be required, and the two periods of disability will be counted toward the benefit maximum.


If you are out on an approved period of disability and have an unrelated condition without a return to work this will be
considered once period of disability.

Two consecutive periods of disability separated by more than 30 calendar days of your return to work at your normal
schedule will be considered two separate periods of disability even if due to the same cause or condition. A new
elimination period and new benefit maximum will be applied when you return to work from the first period of disability.


If a second period of disability is found to be unrelated to the cause or condition of a previous disability and the
second disability starts after you return to your normal work schedule for at least one day, it will be considered as a
separate period of disability. A new elimination period and new benefit maximum will be applied.



                                                                                                                           53

        Case 2:24-cv-00807-NJ                 Filed 06/28/24          Page 54 of 87           Document 1-2
Working on a Restricted-Duty Basis

If you return to work from a period of disability on a restricted-duty basis or are already working a reduced schedule
(due to an illness, injury or pregnancy), you will receive STD benefits — provided you continue to be disabled under
the STD Plan. In this instance, your STD benefit payments will be reduced by any pay you receive from Labcorp. For
example, if you are normally scheduled to work 40 hours per week and you are entitled to 80% of your base pay
during a period of disability, you will receive 80% of your weekly base pay for the week. If you are approved to return
to work for 4 hours per day, you will be paid for the 20 hours you work for the week and the remainder in STD
benefits up to 80% of your weekly base pay. In both cases you receive 80% of your weekly base pay. Any partial
days of absence due to disability are considered full days for purposes of calculating the 182-day STD
period.


Remember, you must call the STD claims administrator to certify your disability. In the event your employment
terminates, you are not entitled to have any sick time paid out.


Long Term Disability (LTD) Benefit Summary

This summary, together with your certificate of insurance, describe your LTD benefits. Be sure to consult your
certificate of insurance for additional information about your LTD benefits.


If you have a disability that extends beyond the 182-day STD period, Labcorp offers additional financial protection
through the Long Term Disability (LTD) Plan.


In general, the Basic Disability Plan provides a LTD benefit of 50% of base pay, up to a maximum benefit of $5,000 a
month. The minimum LTD benefit you can receive is the greater of $100 or 10% of your monthly LTD benefit prior to
any reductions for other sources of income.


The Enhanced Disability Plan provides a LTD benefit of 60% of base pay, up to a maximum benefit of $15,000 a
month. The minimum LTD benefit you can receive is the greater of $100 or 10% of your monthly LTD benefit prior to
any reductions for other sources of income.


When calculating LTD benefits, the Plan uses your base pay in effect just before the onset date of your disability.


Your base pay includes shift differentials but excludes bonuses, commissions, overtime pay or other extra
compensation.


LTD benefits for certain conditions may be limited to a maximum of 12 months. Your LTD benefits are reduced by
other sources of income available to you, including, but not limited to, workers' compensation, any Social Security
benefits received by you for yourself or any of your eligible dependents and any other benefits available to you and
your dependents under federal, state or local law.


When Coverage Begins

You are eligible to participate in the LTD Plan on the first day of the month following 30 days of employment. You
must enroll in Disability coverage within 30 days of your date of hire or during Annual Benefits Enrollment. If you are
not actively at work on the date you are first eligible to enroll in LTD coverage, you will not be eligible to enroll until
the first day you return to work at Labcorp. When you enroll in LTD coverage you also agree to have your portion of


                                                                                                                              54

          Case 2:24-cv-00807-NJ                Filed 06/28/24           Page 55 of 87           Document 1-2
the cost of coverage withheld from your pay on an after-tax basis. In addition, if you delay enrollment in Disability
benefits, the amount of your STD benefits may be affected.

When Coverage Ends

Your coverage under the Labcorp LTD Plan will end on the earliest of the following:


         •    the date you are eligible for coverage under a plan intended to replace Labcorp LTD coverage;
         •    the date Labcorp terminates the Plan;
         •    the date you change employment to an ineligible of employment;
         •    the date you work for a Labcorp entity that has not adopted the Labcorp LTD Plan;
         •    the date you have been on a leave of absence, for a reason other than disability, for more than 6
              months;
         •    the day after the end of the period for which premiums are paid;
         •    the date benefits end because you did not comply with the terms and conditions of the insurance
              coverage.



Conversion Privilege for Disability Benefits

If your Labcorp LTD coverage ends because employment with Labcorp ends, or you are laid off or on an uninsured
leave of absence for more than 6 months, you may be eligible to convert your Labcorp coverage to an individual
policy with the insurer.


To be eligible to convert to an individual policy, you must have been enrolled in the LTD Plan and actively at work for
at least 12 consecutive months. If you make application for conversion coverage within 31 days after your Labcorp
LTD coverage ends, conversion coverage will be effective as of the date your Labcorp LTD coverage ends. If you
make application more than 31 days after your Labcorp LTD coverage ends, you will be required to provide
satisfactory evidence of good health at your own expense and your conversion coverage will be effective on the date
the insurer agrees to insure you. You must apply for conversion coverage within 62 days of the date your Labcorp
LTD coverage ends or you will not be eligible for LTD conversion coverage.


The LTD conversion coverage will provide the same benefits as those in effect under the Labcorp LTD Plan at the
time you apply. The premium will be based on the rates in effect for conversion plans at that time.


Conversion coverage is not available if:


   1. you are retired or age 70 or older;


   2. you are not in active service because of disability;


   3. Labcorp coverage is canceled for any reason;


   4. you are no longer eligible for Labcorp coverage but are still employed by Labcorp.




                                                                                                                          55

        Case 2:24-cv-00807-NJ                  Filed 06/28/24         Page 56 of 87           Document 1-2
What “Disabled” Means Under the LTD Plan

Under the LTD Plan, you are disabled if:


          •   During the first 24 months of an illness, injury or sickness, you are unable to perform the material duties
                 of your regular occupation and you are unable to earn more than 80% of your base pay.
          •   After LTD benefits have been payable for 24 months, you will continue to receive benefits if, solely due
              to an illness, injury or sickness, you cannot perform all of the material duties of any reasonable
              occupation for which you may be qualified based on your education, training or experience, and you are
              unable to earn more than 60% of your base pay in effect on the day before you became disabled.


The claims administrator may ask you to undergo a physical exam performed by a health care provider or other
health care professional (see "What Disabled Means Under the STD Plan" above) before benefits are paid under the
LTD Plan. In addition, you may be asked to submit to periodic examinations while you are receiving disability
benefits. You will not be responsible for paying for these exams. If you refuse a requested medical exam, your LTD
benefits will stop.


Maximum Benefit Period

The LTD Plan pays benefits up to the later of your Social Security Normal Retirement Age* or the Maximum Benefit
Period listed below, based on your age on the day your disability starts.


      AGE WHEN DISABILITY BEGINS                         MAXIMUM BENEFIT PERIOD

 Age 60 or under                                 The employee's 65th birthday or the date the
                                                 60th monthly benefit is payable, if later.

 Age 61                                          The date the 48th monthly benefit is payable.

 Age 62                                          The date the 42nd monthly benefit is payable.

 Age 63                                          The date the 36th monthly benefit is payable.

 Age 64                                          The date the 30th monthly benefit is payable.

 Age 65                                          The date the 24th monthly benefit is payable.

 Age 66                                          The date the 21st monthly benefit is payable.

 Age 67                                          The date the 18th monthly benefit is payable.

 Age 68                                          The date the 15th monthly benefit is payable.

 Age 69 or older                                 The date the 12th monthly benefit is payable.


*Social Security Normal Retirement Age is the retirement age in effect under the Social Security Act as of the Policy
Effective Date, July 15, 2011.
Note: You are not eligible to receive LTD and Labcorp Cash Balance Retirement Plan benefits at the same time.


How Your LTD Benefits Are Taxed

Suppose you are out of work and receiving Enhanced LTD benefits (60% of your annual base pay) based on a
current salary of $25,000. Based on these assumptions, you would receive the following monthly LTD benefit:

                                                                                                                            56

          Case 2:24-cv-00807-NJ               Filed 06/28/24          Page 57 of 87              Document 1-2
            $25,000 salary / 12 months = $2,084
            $2,084 monthly salary x .6 (benefit percent) = $1,250
            Monthly benefit = $1,250

If you choose the option for Enhanced Disability, you will pay 100% of the premium on a pre-tax basis, so 100% of
your monthly LTD benefit ($1,250 in the example above) would be subject to income tax.
If you are in the Basic Disability Plan, Labcorp pays 100% of the cost, so the LTD benefit would also be subject to
income tax.

Because individual tax situations vary, you should talk with a tax advisor to understand the specifics of your own
situation.

What Happens to Other Labcorp Benefits While You Are Receiving LTD Benefits?

Before your STD benefits end, you will receive a letter outlining the steps you will need to take to:


          • convert your Labcorp group life insurance, and
          • learn more about the availability of COBRA health care continuation coverage for your Labcorp medical,
                 dental, vision benefits and the Health Care Flexible Spending Account, if you are enrolled at the time
                 you terminate due to LTD.


At the end of your STD benefit period, here is how your participation in other Labcorp Benefits are affected:


               LABCORP PLAN                        OTHER BENEFIT PLAN STATUS WHILE
                                                               ON LTD

 Medical, Dental, Vision, No Charge               If you are enrolled in Medical, Dental, Vision,
 Laboratory Testing and Health Care               No Charge Laboratory Testing or the Health
 Flexible Spending Account Plans                  Care Flexible Spending Account, you
                                                  may be eligible for COBRA continuation
                                                  coverage

 Basic Life and Optional Life Insurance           If you enrolled in Basic Life and Optional Life
                                                  Insurance, a conversion option is available

 Labcorp Cash Balance Retirement Plan             You may not receive the Cash Balance
                                                  benefit until either your LTD benefit ends or
                                                  you reach the normal retirement age
                                                  (normally age 65)

 Labcorp Employees' Retirement Savings            You may contact Fidelity at any time after
 Plan                                             your termination date with Labcorp to request
                                                  a rollover or distribution

 All Other Benefit Plans                          Your participation in all other Labcorp
                                                  Benefits ends


Survivor Income Benefit

If you die while receiving LTD benefits, a lump sum benefit equal to 6 times your monthly LTD benefit is payable to
eligible survivors, including a spouse/domestic partner and/or children under age 21 who are dependents for tax
purposes.




                                                                                                                      57

        Case 2:24-cv-00807-NJ                 Filed 06/28/24            Page 58 of 87               Document 1-2
Plan Limitations

There are some situations that could limit your eligibility for benefits under the LTD Plan.


Benefits for disabilities arising from alcoholism, drug addiction or chemical dependency, and certain mental illnesses,
are limited up to a maximum of 24 months. This is a combined maximum for all periods of disability under the LTD
Plan associated with all these conditions.


This limitation applies if the disability is primarily caused by:

   •    Alcoholism
   •    Anxiety disorders
   •    Delusional (paranoid) disorders
   •    Depressive disorders
   •    Drug addiction or abuse
   •    Eating disorders
   •    Mental Illness
   •    Somatoform disorders (psychosomatic illness)


If, before reaching your 12-month lifetime maximum benefit, you are confined in a hospital for more than 14
consecutive days, that period of confinement will not count against your lifetime limit. The confinement must be for
the appropriate care of any of the conditions listed above. Generally, appropriate care means the determination of an
accurate and medically supported diagnosis of your disability by a physician, or a plan established by a physician of
ongoing medical treatment and care of the disability that conforms to generally accepted medical standards, including
frequency of treatment and care.


Continuous Disability

Separate periods of disability will be considered continuous if:


  1.   the period results from the same or related causes as a prior disability for which benefits were payable,
  2.   the period occurs after receiving disability benefits and you return to work in your regular occupation for less
       than 6 consecutive months, and
  3.   you earn less than the percentage of earnings that would still qualify you to meet the conditions of disability
       during at least one month (see "What Disabled Means Under the LTD Plan").


Any later period of disability, regardless of the cause, that begins when you are eligible for coverage under another
group disability plan provided by any employer will not be considered a continuous period of disability.


For any separate period of disability which is not considered continuous, another 182-day waiting period will apply.


The certificate of LTD insurance will provide a complete list of exclusions. You can obtain a certificate by contacting
the insurer (see "Plan Administration").


How to File a Claim

To File for Short Term Disability Benefits

First, notify both your supervisor and your local Human Resources representative.
                                                                                                                          58

         Case 2:24-cv-00807-NJ                   Filed 06/28/24        Page 59 of 87           Document 1-2
Second, call Alight, the Plan's claims administrator, at 1-844-391-6668. The Alight Customer Service Center is open
9:00 a.m. - 9:00 p.m. (ET) Monday - Friday. Remember, regardless of your waiting period, your notice of claim must
be given to Alight no later than five (5) days after your first day of a Disability. When you call to report a claim, you
will need to provide Alight with the following information:


         •     Your personal information (including name, address, phone number, Social Security number and
               supervisor's name and phone number);
         •     Your health care provider's name, mailing address, phone number and fax number; and your anticipated
               length of time away from work due to your disability.


Third, if you work in Hawaii, New Jersey, New York, Rhode Island, Puerto Rico or California, you will also need to file
for state disability benefits.


The payment of your disability claim is not automatic ― you must complete these steps or disability benefits may be
delayed or denied. You will qualify for benefits only if there is objective medical evidence that shows you are unable
to work. Under most circumstances, if you are not able to contact Alight, a family member or other designee may
make the call. Alight will begin evaluating your condition after receiving notification of your disability.


If your disability is job-related, you must:


         •     contact Alight as described above and
         •     go to HR Central to find out how to file a claim under Workers' Compensation


Medical Certification

Prior to approving STD benefits, the claims administrator will require proof that you are disabled. Your health care
provider must provide objective medical data to establish that you are disabled within the meaning of the STD Plan.
The claims administrator may require supplemental forms from your health care provider as often as it determines is
necessary while you are claiming STD benefits. Medical evidence that supports your ongoing disability will be
required until your disability ceases or your benefits end.


Independent Medical Examination

The claims administrator may require that you be examined by a health care provider selected by the claims
administrator when your claim is submitted. No more than a reasonable number of medical examinations will be
required. Labcorp pays the cost of examinations performed by health care providers chosen by the claims
administrator.


Return to Work

The claims administrator will notify you, your Human Resources Department and Corporate Payroll of your certified
disability and your estimated return-to-work date.

If you are unable to return to work, you must contact the claims administrator, your supervisor and your Human
Resources Department within three consecutive working days of your estimated return-to-work date. Failure to notify
the Human Resources Department within three working days of your return-to-work date may result in the termination
of your employment.


                                                                                                                            59

         Case 2:24-cv-00807-NJ                 Filed 06/28/24          Page 60 of 87            Document 1-2
Once you are able to return to your regular, full-time or part-time position, you must present Human Resources with a
written release from your health care provider. In addition, you must immediately notify your claims administrator of
your return to work.

Processing Your Claim for Benefits

After the claims administrator has reviewed your claim, you will receive a written decision telling you whether your
claim qualifies for benefits under the STD Plan. This will be within a reasonable period of time, but no longer than 45
days after your claim is received. However, this period of time may be extended as explained in the following
paragraphs.


If matters beyond the control of the claims administrator require an extension of time that is more than 45 days after
your claim was received, a written notice will be sent to you. It will indicate the reasons for an extension of up to 30
days and will be given to you within the original 45-day period. The notice will specify the circumstances that require
the extension of time and the date when the claims administrator expects to make a decision.


A second 30-day extension is permitted if, due to matters beyond the claims administrator’s control, a decision cannot
be made within the original extension period. You will be notified in writing within the first 30-day extension period if a
second extension is required.


If there are unresolved issues that prevent a decision on the claim, and additional information is needed from you or
your health care provider, the time period for making the decision will be suspended from the date you were notified
of the need for additional information until the date you respond to the notice. The notice sent to you will specify the
standards used to determine if you are entitled to the benefit, the unresolved issues that prevent a decision on the
claim, and the additional information needed to resolve those issues.


You will be given at least 45 days from the date you receive the notice to provide the requested information.


If it is determined that you are not entitled to STD benefits, the written decision will specify the reasons why your
claim was denied and the STD Plan provisions that were the basis for denying your claim, and will describe any
additional material or information that is necessary in order to perfect the claim, and explain why this information or
material is necessary. If the claims administrator or representative relied on an internal rule, guideline, protocol or
other similar criterion when denying your claim, you will be informed and will be offered, at your request and at no
cost, a copy of the rule, guideline, protocol or other similar criterion. This decision will also explain the claims review
procedures of the STD Plan, and include a notice of your right to bring a civil action under section 502(a) of ERISA
following the claims administrator’s review of your denied claim.


In the review process, the claims administrator will have discretionary authority to interpret the STD Plan, including
any ambiguous provisions, and to determine your eligibility for benefits.




                                                                                                                              60

        Case 2:24-cv-00807-NJ                  Filed 06/28/24           Page 61 of 87           Document 1-2
Claims Review Procedures

If your claim is denied, in whole or in part, then within 180 days after you receive notice of the denial, you may make
a written request for a review of your claim to the claims administrator. If you fail to appeal a denied claim within the
required time period, you are considered to have permanently waived and abandoned your claim and you may not re-
file it.


You will have the right to review, on written request and free of charge, all documents pertinent to your claim. You will
have the opportunity to submit written comments, documents, records, and other information relating to your claim for
benefits. The review will consider all comments, documents, records, and other information you submit, without
regard to whether the information was submitted or considered in the initial benefit determination. In the review
process, the claims administrator will have discretionary authority to interpret the STD Plan, including any ambiguous
provisions, and to determine your eligibility for benefits.


The review will be independent and not rely on the decision made on your initial claim. It will be conducted by
someone who was neither the individual who made the initial denial, nor someone who works directly for that
individual. If the claim was denied based on a medical judgment, the review will be conducted by the plan
administrator or its representative and a qualified health care professional who has appropriate training and
experience in the field of medicine relevant to your claim. This health care professional cannot be the individual who
was consulted when your initial claim was denied, nor be someone who works directly for that individual. The claims
administrator must tell you about any medical or vocational experts whose advice was obtained during your initial
claim review, regardless of whether the advice was relied upon in making the benefit determination.


The claims administrator or its representative will provide you with a written decision. If the initial denial is affirmed,
the notice will include the specific reasons for the continued denial of your claim. You will be given the specific plan
provision that was the basis for the decision, and a statement that you are entitled to receive, upon written request
and free of charge, documents, records, and other information relevant to your claim for benefits. If the claims
administrator relied on an internal rule, guideline, protocol, or other similar criterion in making the determination,
the claims administrator or representative will inform you of this and will offer, at your request and free of charge, a
copy of the rule, guideline, protocol, or similar criterion. The notice will also include the following statement:


You and your Plan may have other voluntary, alternate dispute resolution options, such as mediation. One way to find
out what may be available is to contact your local U.S. Department of Labor Office and your State insurance
regulatory agency.


The decision on the review of your claim will be provided within a reasonable period of time, but no more than 45
days after receipt of the request for review. If special circumstances require an extension of the time for review,
written notice indicating the reason for the extension will be given to you within such 45-day period. In case of an
extension, the decision will be provided within a reasonable period of time but no more than 90 days after receipt of
the request for review.


Unless you have exhausted your rights under this claims procedure you may not file a lawsuit against the STD Plan
for benefits. You must bring a lawsuit for benefits no later than one year after the final decision on your claim under
these claims procedures. If you fail to file a lawsuit within the required time period, you are considered to have
permanently waived and abandoned your claim and you may not reassert it in a court or other venue.




                                                                                                                              61

        Case 2:24-cv-00807-NJ                  Filed 06/28/24           Page 62 of 87            Document 1-2
Life & Optional AD&D Insurance
Labcorp understands how important financial security is to you and your family, so Labcorp maintains life and
accident insurance plans that include:

•   Basic Life Insurance
•   Optional Life Insurance
•   Dependent Life Insurance
•   Optional Accidental Death and Dismemberment (AD&D) Insurance, and
•   Business Travel Accident (BTA) Insurance.
To learn more about Labcorp life and AD&D coverage, refer to the information in this section of the Personal
Choice Benefits Handbook. You will find additional information about eligibility, enrolling for coverage, paying
for coverage, when your coverage starts and stops and other important information in the Overview Section of
this Handbook.


Quick Reference Guide
Use the “Quick Reference Guide” to learn how these plans work together to provide financial security for your
family. Then read on for additional information about each of these plans.


TYPE OF PLAN                          BENEFIT AMOUNT
Basic Life Insurance                  2 times annual base pay
(Labcorp-Paid)                        Maximum: $1,500,000
Optional Life Insurance               1 times annual base pay
(Employee-Paid)                       2 times annual base pay
                                      3 times annual base pay
                                      4 times annual base pay
                                      5 times annual base pay
                                      6 times annual base pay
                                      Maximum: $2,000,000
Dependent Life Insurance              Spouse/Domestic Partner—your choice of:
(Employee-Paid)                       $10,000
                                      $25,000
                                      $50,000
                                      $100,000
                                      $200,000
                                      Children—your choice of:
                                      $5,000
                                      $10,000
                                      $25,000

Optional Accidental Death and         2 times annual base pay
Dismemberment (AD&D)                  Maximum: $500,000
Insurance                             Spouse/domestic partner only: 60% of your coverage up to $300,000
(Employee-Paid)                       Spouse/domestic partner and children: 50% of your coverage up to
                                      $250,000 for your spouse/domestic partner plus 10% of your coverage
                                      up to $75,000 for each eligible child
                                      Children only: lesser of $75,000 or 15% of your coverage for each
                                      eligible child




                                                                                                                   62

       Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 63 of 87         Document 1-2
Business Travel Accident (BTA)         If your annual base income is:         BTA Insurance equals:
Insurance                              Less than $15,000                      $50,000
(Labcorp-Paid)                         $15,000 but less than $50,000          $160,000
                                       $50,000 but less than $100,000         $375,000
                                       $100,000 but less than $200,000        $750,000
                                       $200,000 or more                       $1,000,000


A Closer Look At Basic, Optional and Dependent Life and
AD&D Insurance
If you are absent from work on the date your Life Insurance and AD&D insurance are scheduled to begin,
coverage will begin on the date you return to work on a regularly scheduled basis.
If an eligible dependent is confined at home, in a hospital or elsewhere, or is not performing normal daily
activities on the date coverage is due to begin, Dependent Life and Optional AD&D Insurance for this
dependent begins on the date the confinement ends or normal activities resume.

Basic Life Insurance
Basic Life Insurance is the foundation of your financial protection plans. It provides a benefit to your beneficiary
if you die at any time, from any cause.
Labcorp provides you with Basic Life Insurance equal to two times your annual base pay.
The maximum Basic Life Insurance benefit, regardless of pay, is $1,500,000.
Although Labcorp pays the cost of your Basic Life Insurance, you are required to include the value of any
coverage over $50,000 in your taxable income. This is called “imputed income.” This value is calculated by
Labcorp based on Internal Revenue Service (IRS) guidelines and reported on your W-2 form. Imputed income
also is subject to Social Security taxes.

Optional Life Insurance
If you want additional protection, you may elect Optional Life Insurance. As with Basic Life Insurance, Optional
Life Insurance provides a benefit to your beneficiary if you die at any time, from any cause, except suicide. You
may elect:
    •    1 times annual base pay,
    •    2 times annual base pay,
    •    3 times annual base pay,
    •    4 times annual base pay,
    •    5 times annual base pay, or
    •    6 times annual base pay.
The maximum Optional Life Insurance benefit, regardless of pay, is $2,000,000.
If you commit suicide, no death benefit will be payable under Optional Life Insurance unless you have been
covered under the policy for at least 2 years.
Please note that any time you increase your coverage level, you will have to satisfy a new two-year suicide
exclusion waiting period for the additional level of coverage.

Changes in Coverage
During Annual Benefits Enrollment — or if you experience a Qualified Status Change during the year — you
can review your life insurance needs and choose optional coverage. (See the “An Overview of Personal
Choice” section for more information about Annual Benefits Enrollment.) There are rules on changing the
amount of your coverage, though.
If you are currently enrolled in Optional Life or Spouse/Domestic Partner Life Insurance, you may elect more
coverage, however, you will need to provide a statement of health to the insurance carrier for approval.

                                                                                                                       63

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 64 of 87          Document 1-2
You will receive a statement of health form(s) as needed or you can obtain the form from PeopleCare by calling
1-888-800-4002, Monday - Friday 8 am - 8 pm ET.
You do not need a statement of health for:

    •   Basic Life Insurance,
    •   Child Life Insurance, or
    •   Optional AD&D Insurance coverage.


More About Your Life Insurance Coverages
If Your Annual Base Pay Changes
Your Optional Life Insurance coverage and premium will adjust automatically to keep pace with any changes in
your annual base pay. Annual base pay means your annual rate of pay, excluding overtime, shift differential,
commissions, bonuses, incentive pay or other forms of extra compensation. In calculating your life insurance
coverage, your annual base pay is first rounded up to the next higher $1,000 if your annual base pay is not
already an even $1,000 amount and is then multiplied by the applicable factor. If you are disabled and away
from work on the date your annual base pay changes, your new insurance amount (and premiums, if
applicable) will become effective after you return to work for at least one day on a regularly scheduled basis.

If You Become Disabled
Your Basic Life Insurance coverage continues while you are on short term disability. If you elected Optional Life
Insurance, your premiums continue to be deducted from your STD benefits.
If you become eligible for LTD benefits, please refer to the “Comprehensive Disability Plan” section of this
Personal Choice Benefits Handbook for additional information about the impact on your Optional Life Insurance
coverage.

Dependent Life Insurance
You may insure your eligible dependents, as follows:

COVERED DEPENDENTS                           COVERAGE CHOICES
Spouse/Domestic Partner Life                 Your choice of:
                                             • $10,000
                                             • $25,000
                                             • $50,000
                                             • $100,000
                                             • $200,000
Child Life                                   Your choice of:
                                             • $5,000
                                             • $10,000
                                             • $25,000




                                                                                                                  64

        Case 2:24-cv-00807-NJ             Filed 06/28/24         Page 65 of 87         Document 1-2
The Child Life Insurance benefit is limited to $500 from birth through 6 months in age.
For Child Life, an eligible child is defined as:
    1.   Your natural child;
    2.   Your adopted child (including a child from the date of placement with the adopting parents until the
         legal adoption);
    3.   Your stepchild (including the child of a Domestic Partner);
    4.   and who, in each case, is under age 26.



A “Living” Benefit
The “living” benefit option, also known as the Accelerated Death Benefit, gives you access to additional
reserves to meet financial obligations or pay unexpected medical expenses, if you are terminally ill. If you
become terminally ill and are determined to have 12 months or less to live, the Plan’s “living” benefit option
allows you to receive immediate payment of a portion of your Basic Life and Optional Life Insurance (if
enrolled).
If you qualify for this “living” benefit, you can receive up to 80% of your Basic Life and Optional Life Insurance
as described below:

PLAN                            MINIMUM                       MAXIMUM
Basic Life                      $5,000                        $300,000
Optional Life (employee         $5,000                        $300,000
and/or spouse/domestic
partner)

Note: The “living” benefit does not apply to Optional AD&D Insurance or Child Life Insurance. The combined
Basic and Optional Life "living" benefit maximum is $500,000.
There is no additional cost for this option. Your premium payments for Optional Life Insurance coverage will be
reduced based upon your remaining benefit level. The face amount of your Basic Life and Optional Life
Insurance coverages is reduced by any benefits paid out to you. Remaining benefits will be paid to your
beneficiary(ies) following your death.
The “living” benefit may be taxable. As with all tax matters, you should consult a tax advisor.

Converting Your Coverage
If your Labcorp employment ends, you have the option of converting your Basic Life, Optional Life and
Dependent Life Insurance — but not your Optional AD&D Insurance — to individual non-term policies.
However, you must apply for conversion within the timeframe outlined below. (If you or any covered dependent
dies during this election period, you or your beneficiary will still receive your Basic Life, Optional Life or
Dependent Life Insurance.)
Availability:   You must apply for the individual contract and pay the first premium by the later of:
(1) the thirty-first day after you cease to be insured for the Employee Term Life Insurance; and
(2) the fifteenth day after you have been given written notice of the conversion privilege. But, in no event may
you convert the insurance to an individual contract if you do not apply for the contract and pay the first premium
prior to the ninety-second day after you cease to be insured for the Employee Term Life Insurance.

Optional Accidental Death and Dismemberment (AD&D) Insurance
Optional Accidental Death and Dismemberment (AD&D) Insurance can provide an extra measure of protection
for you or your family. AD&D benefits are paid in addition to any life insurance benefits available through the
Plan. The Plan pays a benefit if you die or are seriously injured as the result of an accident.
Optional AD&D Insurance offers you coverage of 2 times your annual base pay up to a maximum AD&D benefit
of $500,000.


                                                                                                                     65

         Case 2:24-cv-00807-NJ               Filed 06/28/24        Page 66 of 87          Document 1-2
In addition, you may elect AD&D coverage for your family as described below.

Optional AD&D Benefits
If you suffer one of the following losses as a result of, and within 365 days of, an accident, the following AD&D
benefit will be paid:

TYPE OF LOSS                                                                     BENEFIT AMOUNT
Life                                                                             100% of coverage amount
One hand, one foot, sight of an eye, loss of speech or hearing                   50% of coverage amount
Any two or more of the above                                                     100% of coverage amount
Thumb and index finger of same hand or total paralysis of one limb               25% of coverage amount
Coma                                                                             as the lesser of 2% per month
                                                                                 and $1,000 up to up to100
                                                                                 months; after 100 months a
                                                                                 lump sum equal to 100% of the
                                                                                 Amount of Insurance minus the
                                                                                 amount already paid for Coma


Total paralysis of upper and lower limbs of one side of the body                 50% of coverage amount
Total paralysis of both lower limbs                                              75% of coverage amount
Total paralysis of the upper and lower limbs                                     100% of coverage amount

Insurance for Yourself and Your Family
You have the option to choose Optional AD&D Insurance for yourself as well as your eligible dependents
through the family coverage. The amount of their coverage is determined by your family status at the time a
claim is submitted.

ELIGIBLE FAMILY MEMBERS COVERAGE AMOUNT
Spouse/Domestic Partner            60% of your coverage amount, up to $300,000
Only
Spouse/Domestic Partner            50% of your coverage amount, up to $250,000, for your spouse/domestic
and Children                       partner, plus 10% of your coverage amount up to $75,000 for each eligible
                                   child
Children Only                      The lesser of $75,000 or 15% of your coverage amount for each eligible
                                   child

For AD&D, an eligible child is defined as:
    1. Your natural child;
    2. Your adopted child (including a child from the date of placement with the adopting parents until the
       legal adoption);
    3. Your stepchild (including the child of a Domestic Partner);
    4. and who, in each case, is under age 26.

Keep in mind that if your Labcorp employment terminates, you cannot convert your Optional AD&D Insurance
to an individual policy.




                                                                                                                    66

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 67 of 87         Document 1-2
Seat Belt and Airbag Benefit
Your Optional AD&D Insurance pays an additional benefit if you die in an automobile accident while using an
originally equipped, factory-installed, unaltered seat belt/lap and shoulder restraint and/or airbag (supplemental
restraint system). The seat belt benefit will be 10% of your AD&D coverage, up to $25,000. The airbag benefit
is also 10% of your AD&D coverage, up to $10,000.
The use of the seat belt and/or airbag must be verified as part of the accident report or certified by the
investigating officer. No benefit is payable if you are either the driver or passenger and the driver was legally
intoxicated or under the influence of drugs at the time of the accident, or the driver did not hold a current or
valid driver's license.

What Optional AD&D Insurance Does Not Cover
Optional AD&D Insurance benefits are paid for losses caused by accidents only. No benefits are payable for
death or injury caused or contributed to by:

•   Disease, bodily or mental infirmity, or medical or surgical treatment of these;
•   Suicide or intentionally self-inflicted injury, while sane or insane;
•   Participation in a riot or insurrection, or commission of an assault or felony;
•   War or any act of war, declared or undeclared;
•   Use of any drug, hallucinogen, controlled substance, or narcotic unless prescribed by a physician;
•   Driving while intoxicated, as defined by the applicable state law where the loss occurred;
•   Hazardous Sports;
•   Travel or flight in, or descent from any aircraft, except if employment duties require the Covered Person to
    be a pilot and/or passenger in a privately owned aircraft, or as a fare-paying passenger on a commercial
    airline flying between established airports on: (a) a scheduled route; or (b) a charter flight seating 15 or
    more people.


Business Travel Accident (BTA) Insurance
Because you may be asked to travel on business as part of your job, Labcorp provides Business Travel
Accident (BTA) Insurance. BTA Insurance pays a benefit if you die or are seriously injured while traveling on
Labcorp business.
The BTA Insurance benefit is based on your annual base pay, as shown below:

IF YOUR ANNUAL BASE PAY IS:                   BTA INSURANCE EQUALS:

Earning less than $15,000                     $50,000
Earning $15,000 to $49,999 annually           $160,000
Earning $50,000 to $99,999 annually           $375,000
Earning $100,000 to $200,000 annually         $750,000
Earning more than $200,000 annually           $1,000,000

BTA Insurance Benefits
If you suffer one of the following losses as a result of, and within 365 days of, an accident, the following BTA
Insurance benefit will be paid:

TYPE OF LOSS                                                                              BENEFIT AMOUNT
Life                                                                                      100% of benefit
One hand, one foot, sight of an eye, loss of speech or hearing                            50% of benefit
Any two or more of the above                                                              100% of benefit


                                                                                                                     67

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 68 of 87          Document 1-2
Thumb and index finger of same hand                                                       25% of benefit
Total paralysis of one upper or one lower limb                                            25% of benefit
Total paralysis of upper and lower limbs of one side of the body                          50% of benefit
Total paralysis of both lower limbs                                                       75% of benefit
Total paralysis of the upper and lower limbs                                              100% of benefit

What BTA Insurance Does Not Cover
In addition to any benefit-specific exclusion, benefits will not be paid for any Covered Injury or Covered Loss
which directly or indirectly, in whole or in part, is caused by or results from any of the following unless coverage
is specifically provided for by name in the Conditions of Coverage and Description of Indemnity Benefits
sections of the insurance contract. Capitalized terms used, but not otherwise defined, below will have the
meanings provided in the insurance contract.

•   intentionally self-inflicted Injury, suicide or any attempt thereat while sane or insane;
•   commission or attempt to commit a felony or an assault;
•   commission of or active participation in a riot, insurrection or Terrorist Act;
•   declared or undeclared war or act of war;
•   flight in, boarding or alighting from an Aircraft or any craft designed to fly above the Earth’s surface:
    a) except as a fare-paying passenger on a regularly scheduled commercial or charter airline;
    b) being flown by the Covered Person or in which the Covered Person is a member of the crew;
    c) being used for:
              I.   crop dusting, spraying or seeding, giving and receiving flying instruction, firefighting, sky
                   writing, sky diving or hang-gliding, pipeline or power line inspection, aerial photography or
                   exploration, racing, endurance tests, stunt or acrobatic flying; or
             II.   any operation that requires a special permit from the FAA, even if it is granted (this does not
                   apply if the permit is required only because of the territory flown over or landed on);
    d) an ultra-light or glider;
    e) being used by any military authority, except an Aircraft used by the Air Mobility Command or its foreign
         equivalent;
    f) being used for the purpose of parachuting or skydiving;
    g) designed for flight above or beyond the earth’s atmosphere;
•   sickness, disease, bodily or mental infirmity, bacterial or viral infection or medical or surgical treatment
    thereof, except for any bacterial infection resulting from an accidental external cut or wound or accidental
    ingestion of contaminated food;
•   travel in any Aircraft owned, leased or controlled by Labcorp, or any of its subsidiaries or affiliates. An
    Aircraft will be deemed to be 'controlled' by Labcorp if the Aircraft may be used as Labcorp wishes for more
    than 10 straight days, or more than 15 days in any year;
•   voluntary ingestion of any narcotic, drug, poison, gas or fumes, except for ptomaine poisoning, unless
    prescribed or taken under the direction of a Physician and taken in accordance with the prescribed dosage;
•   a Covered Accident that occurs while engaged in the activities of active duty service in the military, navy or
    air force of any country or international organization. Covered Accidents that occur while engaged in
    Reserve or National Guard training are not excluded until training extends beyond 31 days;
•   operating any type of vehicle while under the influence of alcohol or any drug, narcotic or other intoxicant
    including any prescribed drug for which the Covered Person has been provided a written warning against
    operating a vehicle while taking it. Under the influence of alcohol, for purposes of this exclusion, means
    intoxicated, as defined by the law of the state in which the Covered Accident occurred.
In addition, benefits will not be paid for services or treatment rendered by any person who is:




                                                                                                                       68

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 69 of 87          Document 1-2
•   employed or retained by Labcorp;
•   living in your household;
•   a parent, sibling, spouse, domestic partner or child of yours or your spouse/domestic partner.


Naming Your Beneficiary
You designate the same beneficiary for Basic Life Insurance, Optional Life Insurance, Optional AD&D
Insurance and BTA Insurance. Designate or update your life insurance beneficiary information on the Benefits
Enrollment System. You are the beneficiary for Spouse/Domestic Partner and Child Life Insurance, provided
you choose to cover your dependents. You can change your beneficiaries as often as you wish. Keep in mind
you may need to change your Beneficiary Designation if you have a change in family status.


How to File a Claim
You need to file a claim in order for Life and Accident Insurance benefits to be paid.
You or your beneficiary may request claim forms from the PeopleCare Advocacy Center at 1-888-800-4002. An
advocate will help you complete the forms and file them with the insurance company. Proof of death will be
required.
In order for a claim for Life or Optional AD&D Insurance benefits to be processed on a timely basis, be sure to
forward the following information to PeopleCare:
    •   Completed claim form, and
    •   An official certified copy of the death certificate (if applicable).
PeopleCare will forward this information along with your Beneficiary Designation information (if applicable) to
the insurance carrier for processing.




                                                                                                                  69

        Case 2:24-cv-00807-NJ                Filed 06/28/24           Page 70 of 87      Document 1-2
Employee Stock Purchase Plan
This section of your Personal Choice Benefits Handbook for 2023 is a summary of the Labcorp Employee
Stock Purchase Plan (ESPP).
Labcorp’s Employee Stock Purchase Plan is designed to permit eligible employees to share in the financial
growth and success of Labcorp. The ESPP gives you the opportunity to purchase Labcorp common stock at a
discount through automatic, after-tax payroll deductions.


Quick Reference Guide
If you meet the eligibility requirements, you can participate in the Employee Stock Purchase Plan (ESPP).
Participation is voluntary. The ESPP gives you the opportunity to become a shareholder by purchasing Labcorp
common stock at a reduced rate through automatic, after-tax payroll deductions. Here is an overview of the
opportunities the ESPP provides:

QUESTIONS                     ANSWERS
Who can join?                 You can, if you are a U.S employee (1) who is employed by a subsidiary of
                              Labcorp that participates in the ESPP, (2) who has completed 6 months of
                              service as of the beginning of the offering period, and (3) whose customary
                              employment is for more than 20 hours per week.

                              You are not eligible to participate if you (1) are employed by a subsidiary of
                              Labcorp that does not participate in the ESPP, (2) are a seasonal employee
                              whose employment is not for more than 5 months a year, or (3) own (or would
                              own) 5% or more of Labcorp’s common stock.
How do I enroll?              You can enroll two ways: online or by phone. Login to Fidelity NetBenefits at
                              www.netbenefits.fidelity.com or call Fidelity Stock Plan Services at 1-800-
                              544-9354.
How much can I deduct?        You can contribute from 1% to 10% of your base pay, including shift
                              differential, to purchase Labcorp common stock at a 15% discount.
                              Contributions are made through payroll deduction on an after-tax basis.
Who maintains my              Fidelity Investments maintains individual accounts for all ESPP participants.
account?


Who pays fees related to      Labcorp pays all fees in connection with purchases made through payroll
the purchase of stock?        deduction.


Who do I call?                Call a Fidelity Stock Plan Services Representative at 1-800-544-9354
                              Monday through Friday, 8 a.m. to midnight Eastern Time if you have
                              questions or if you want to sell your Labcorp common stock.




                                                                                                               70

       Case 2:24-cv-00807-NJ              Filed 06/28/24       Page 71 of 87         Document 1-2
A Closer Look At How the Labcorp ESPP Works
Who Is Eligible
You are eligible to participate in the Labcorp Employee Stock Purchase Plan (ESPP) if:

•   you are a U.S. employee of a subsidiary of Labcorp that participates in the ESPP,
•   you have completed six months of service as of the beginning of the offering period, and
•   your customary employment is for more than 20 hours per week.
You are not eligible to participate in the (ESPP) if you:
•   are employed by a subsidiary of Labcorp that does not participate in the ESPP,
•   are a seasonal employee whose employment is not for more than 5 months a year, or
•   own (or would own by participating in the ESPP) 5% or more of Labcorp’s common stock.
If you cease to be eligible to participate in the plan during an offering period, you will be refunded all funds
accumulated in your account.

Who Pays the Cost
You pay the cost of purchasing Labcorp common stock — at a 15% discount — on an after-tax basis through
automatic payroll deductions. The 15% discount is applied to the lower of the average high and low sales price
on the first day of an offering period or the average high and low sales price on the last day of the offering
period.
Labcorp pays all fees related to the purchase of Labcorp common stock through the ESPP. However, if you
purchase shares outside of the Plan, you pay all commissions and charges in connection with purchases made
other than by payroll deduction. You pay all commissions and charges as a result of selling your shares of
Labcorp common stock.

How to Enroll
If you want to enroll in the ESPP, you need to open an account by completing the online application using
Fidelity NetBenefits at www.netbenefits.fidelity.com or you can request a Fidelity Account application by calling
1-800-544-9354 Monday through Friday 8 a.m. to midnight Eastern Time. When you complete the application
process and elect your payroll deductions, you authorize Labcorp to deduct contributions to the ESPP directly
from your paycheck on an after-tax basis.

When You Can Enroll
You can enroll in the ESPP after you have met the eligibility requirements. Payroll deductions will begin with
the first scheduled paycheck of the next offering period. Offering periods begin on the first trading day of
January and July each year, which are generally on January 1 and July 1.
You should enroll online or by phone through Fidelity Stock Plan Services no later than 15 calendar days
before the start of an Offering Period.


Your Payroll Deduction
You may designate from 1% to 10% of your base pay — including shift differential — as your ESPP
contribution to be used to purchase Labcorp common stock through convenient payroll deductions. Your
election must be in 1% increments and may not exceed $25,000 of the fair market value of Labcorp common
stock per calendar year. The amount you designate is deducted from your paycheck on an after-tax basis. No
interest is credited to your ESPP account.

Changing the Amount of Your Payroll Deduction
You can increase or decrease the amount of your payroll deduction online using www.netbenefits.fidelity.com

                                                                                                                    71

        Case 2:24-cv-00807-NJ               Filed 06/28/24          Page 72 of 87          Document 1-2
or by calling Fidelity Stock Plan Services at 1-800-544-9354 no later than 15 calendar days before the
beginning of an offering period. Changes are effective with the first payroll of the next offering period. You will
not receive a refund of year-to-date contributions. Any contributions for the current offering period will be
applied to the purchase of Labcorp common stock.

Discontinuing Contributions
You can stop contributing to the ESPP at any time by contacting Fidelity Stock Plan Services and changing
your payroll deduction to zero percent. Once you stop your contributions, you cannot begin participating again
until the next offering period. Any contributions made during an offering period in which you stop contributions
will not be refunded; they will be applied to the purchase of Labcorp common stock.


How Shares Are Purchased
Shares of Labcorp common stock are purchased semiannually and deposited into your Fidelity account.


Other Plan Provisions
Selling Stock
After shares of Labcorp common stock have been purchased, you can sell your Labcorp common stock at any
time. To direct a sale, go online or call Fidelity Stock Plan Services at 1-800-544-9354 and indicate your order
to sell. While you are a Labcorp employee purchases and sales of Labcorp common stock are subject to
Labcorp's Insider Trading Policy found in the Code of Business Practices on The Point.

Transfer Restrictions
You cannot transfer or pledge your right to receive shares of Labcorp common stock. You may purchase the
shares of Labcorp common stock only in your name. If you wish to transfer or pledge your shares of Labcorp
common stock, you will need to take actual delivery of your shares of Labcorp common stock.

Blackout Periods
Under Labcorp's Insider Trading Policy, blackout periods prohibit certain key employees from performing any
transactions involving Labcorp common stock, including any Labcorp common stock purchased under the
ESPP (whether held in their Fidelity account or not). The blackout period begins three weeks before the end of
each calendar quarter and ends two business days following the release of Labcorp's earnings for the quarter.
For more information, please refer to Labcorp's Insider Trading Policy found in the Code of Business Practices
on The Point.

Share Certificates
Certificates for shares of Labcorp common stock purchased through the ESPP will be held by the broker in
"street name" (without charge) but can be delivered to you upon written request for a fee. The number
ofshares credited to your ESPP account is shown on your Fidelity account statement. This feature protects
against loss, theft, or destruction of stock certificates.
Like any shareholder, you have the right to vote the shares of Labcorp common stock held in your Fidelity
account and receive information, such as annual reports and proxy statements.

Account Statements
You will receive an account statement from Fidelity Investments after each offering period. You should keep
statements you receive because the statements will verify your actual cost for the shares of Labcorp common
stock. When you sell the Labcorp common stock, you will need to know the cost in order to determine the gain
or loss on the sale.




                                                                                                                      72

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 73 of 87          Document 1-2
Taxation
When you sell shares of Labcorp common stock purchased through the ESPP, you are required to report the
amount of ordinary income for tax purposes. If you hold your shares for a minimum of one year after the
purchase date or two years after the grant date, whichever period is longer, you may be entitled to special tax
treatment, known as a “qualified disposition”. However, if you sell your shares prior to one year after the
purchase date or two years after the grant date, whichever period is longer, the shares are not entitled to the
special tax treatment of a qualified disposition. Instead, you are required to report the value of the discount as
ordinary compensation income. In addition, you may owe tax on any capital gains resulting from the sale of
your stock. You should talk with a tax specialist before selling any shares of Labcorp common stock purchased
through the ESPP.


Leaves of Absence
Authorized Leaves of Absence
If you go out on an authorized leave of absence, such as short term disability, and do not terminate
employment (as determined for purposes of the ESPP), you can remain a participant in the ESPP and elect
either (1) for your payroll deductions to stop following the procedures described above under “Discontinuing
Contributions” or (2), for your payroll deductions to continue from eligible earnings paid to you by your employer
during your authorized leave of absence. Any funds in your ESPP account will be applied toward the purchase
of Labcorp common stock at the end of the offering period in which your leave begins.

If You Terminate Employment
If you terminate employment with Labcorp or a subsidiary of Labcorp participating in the ESPP other than on
account of death, you are no longer eligible to purchase shares of Labcorp common stock through the ESPP.
Any payroll deductions made during the offering period in which your employment ends will be refunded to you
within 30 days following receipt of your termination notice.
However, you can maintain your individual account with Fidelity Investments and make direct purchases of
Labcorp common stock if you wish. In this case, you pay the full cost of each transaction and no discount will
apply.
If you terminate employment on account of death, the legal representative of your estate or your
beneficiary(ies) may elect, within 3 months of your death (or by the end of the current offering period, if earlier),
either to (1) receive a refund of the payroll deductions you contributed during the offering period or (2) apply the
payroll deductions you contributed during the offering period to the purchase of Labcorp common stock at the
end of the offering period.




                                                                                                                    73

        Case 2:24-cv-00807-NJ               Filed 06/28/24         Page 74 of 87          Document 1-2
The TELUS Health Program
The TELUS Health Program provides valuable services and information at no cost to you. TELUS Health
offers confidential consultations and short-term counseling for you and your family members. TELUS Health
can serve as a resource for the following:

•   helping you find child or elder care
•   locating schools and educational financing information
•   providing investment and retirement planning information
•   helping you to resolve work issues
•   helping address alcohol or drug abuse issues, and
•   other personal issues.
TELUS Health consultants are available 24 hours, 7 days a week by calling 1-888-267-8126.

Who Pays for the Cost of Coverage
Labcorp pays the entire cost of providing the TELUS Health Program, which includes the cost for short-term
counseling visits.
You and your dependents may receive up to 10 counseling visits per year for each unrelated problem.
If alternative counseling or other treatment is received, you will be responsible for paying the cost for those
services.

A Closer Look At How the TELUS Health Program Works
You are not expected to have all the answers to life’s challenges. That is why Labcorp provides the TELUS
Health Program. TELUS Health can provide you with need-to-know information about financial planning,
continuing your education, legal assistance and home repair needs. In addition, TELUS Health offers
assistance for problems that may disrupt work and family life including elder care needs, mental health issues,
addiction and work-related problems.
TELUS Health offers free, confidential consultation on the phone or in person with a caring professional
consultant. TELUS Health.com is an award-winning website where you can watch short videos, listen to
podcasts, read articles, order or download free materials like booklets and CDs, complete personalized
searches and referrals for childcare and elder care resources. TELUS Health also provides referrals to local
and national resources.

TELUS Health Consultants
All TELUS Health consultants hold master’s degrees in social work or a human services field and have a
minimum of three years of practical experience. When they are hired, consultants are required to complete
TELUS Health thorough orientation and training program followed by a competency certification program.
Consultants spend an average of 5% to 10% of each workweek in training activities to provide assessments,
consultations, and referrals for TELUS Health services.

Employer Referral
Managers and supervisors may refer employees to TELUS Health if an employee asks for help or has personal
problems that are affecting job performance. These referrals may be made in the hope of preventing further job
impairment or disciplinary action. Job security or promotions are not affected by the decision to accept referral
to TELUS Health. Under certain circumstances, referral to TELUS Health may be mandatory and a condition of
continued employment.

When You Call
When you call TELUS Health at 1-888-267-8126, a consultant will ask your name, your company, and your
location. An appointment will be made to discuss your situation by phone. When necessary, your consultant
can make a referral to a local provider for short-term counseling visits. If you need a referral, you and your
dependents may receive up to 10 short-term counseling visits per year for each unrelated problem — at no
                                                                                                                  74

        Case 2:24-cv-00807-NJ              Filed 06/28/24          Page 75 of 87         Document 1-2
cost to you. However, if it is determined that long-term counseling may be needed to adequately address the
situation, your consultant will not be able to grant the 10 short-term visits.
TELUS Health consultants are available on a 24-hour basis for emergency or urgent situations.

Hospital Pre-Certification
TELUS Health staff is specially trained to evaluate and recommend treatment for individuals with
psychological, drug or alcohol problems.
If you or a family member is in need of possible hospitalization for one of these problems, you must get Prior
Authorization for the treatment by calling the Prior Authorization telephone number for the Labcorp Medical
Plan in which you are enrolled before entering the hospital in order to receive maximum benefit levels from the
Labcorp Medical Plan.


The Adoption Assistance Plan
The Adoption Assistance Plan provides benefits if you adopt a child. TELUS Health also can provide agency
referrals and guidance with the adoption process.

A Closer Look At How the Adoption Assistance Plan Works
You can request up to a lifetime maximum of $3,000 in reimbursement for covered expenses for the legal
adoption of any eligible child. If both the adopting mother and father are Labcorp employees, the
combined maximum benefit is $3,000 per lifetime.
Covered expenses include:

•   placement fees from a public or private adoption agency,
•   legal fees,
•   court fees, and
•   child care charges when the child temporarily lives at another location before placement in your home.
To file a claim for reimbursement, contact TELUS Health at 1-888-267-8126.
You may also take an unpaid leave of absence to care for your child, with your supervisor's approval. In
addition, you can contact TELUS Health if you need help finding a day care center, nursery school or special
needs program, or to apply for tuition aid.

What’s Not Covered
Some expenses that are not covered include:

•   adoption by a stepparent
•   medical expenses for the biological mother
•   transportation and travel expenses for anyone associated with the adoption
•   any expenses for the biological parents
•   voluntary donations or contributions to the adoption agency, and
•   costs to obtain guardianship or custody of the child.
If you are unsure about which expenses are covered, or need more information about the Plan, contact TELUS
Health at 1-888-267-8126.


Accident Insurance offered by Voya Employee Benefits
Accident Insurance can help relieve some of the financial stress that goes along with an accidental injury either
at work or at home.

Accident Insurance pays you benefits for specific injuries and events resulting from a covered accident that
occurs on or after your coverage effective date. The benefit amount depends on the type of injury and care
received. You can purchase either Basic or Enhanced Accident Insurance for yourself, your spouse/domestic
partner and your children.
                                                                                                                    75

       Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 76 of 87         Document 1-2
Critical Illness Insurance offered by Voya Employee Benefits
No matter what type of medical coverage you have, if you are diagnosed with a critical illness, out-of-pocket
expenses can add up quickly. Critical Illness Insurance can provide you and your family with the additional
financial protection you may need for expenses associated with an unexpected, covered critical illness.

Critical Illness Insurance provides a benefit payment upon the diagnosis of a covered illness or condition on or
after your coverage effective date. This coverage also includes a Wellness Benefit that pays an annual benefit
when the covered person has an annual physical exam or covered health screening test. You can purchase
Critical Illness Insurance for yourself, your spouse/domestic partner and/or your children. Critical Illness
Insurance is a limited benefit policy. This is not health insurance and does not satisfy the requirement of
minimum essential coverage under the Affordable Care Act.


Hospital Confinement Indemnity Insurance offered by Voya
Employee Benefits
Costs for hospital stays add up quickly – from medical bills; to travel, food and lodging costs; to the day-to-day
expenses that don’t stop while you are admitted. Voya’s Hospital Confinement Indemnity Insurance can help
relieve some of these financial pressures if you are admitted to the hospital.

Hospital Confinement Indemnity Insurance pays a daily benefit if you have a covered stay in a hospital, critical
care unit or rehabilitation facility on or after your coverage effective date. You can use this money for any
purpose you like, including: to help pay for expenses not covered by your medical plan, lost wages, child care,
travel, home health care costs or any of your regular household expenses.

Hospital Confinement Indemnity Insurance is a limited benefit policy. This is not health insurance and does not
satisfy the requirement of minimum essential coverage under the Affordable Care Act.


Identity Theft Protection from ID Watchdog
Every two seconds thieves steal another identity. Most victims only discover that they have a problem when
they are denied credit, are contacted by the police or receive bills for things they have never purchased.
That’s why ID Watchdog gives you the tools and protection to stop identity theft early and fix it fast including:
   • Proactive monitoring of traditional and non-traditional credit
   • High-risk transaction and internet black-market monitoring
   • Reimbursement insurance for up to $1 million in identity theft-related expenses
   • Fully-managed resolution services that have never failed to restore an identity

The Legal Assistance Plan
The Labcorp Legal Assistance Plan offers you and your family convenience, value and peace of mind by
providing quality legal services. The Plan provides access to more than 14,000 in-network attorneys. You may
also use your own attorney and be reimbursed according to a determined fee schedule.

A Closer Look At How the Legal Assistance Plan Works
Once you enroll in the Plan, you and your eligible dependents will have access to professional legal
representation at an affordable price. If you have a situation that requires legal attention, simply call MetLife
Legal Plans at 1-800-821-6400 Monday through Friday from 8:00 a.m. to 7:00 p.m. Eastern Time. A Client
Service Representative will give you the address and phone number of the in-network attorney(s) in your areas.
You can then contact the in-network attorney to schedule an appointment.

Covered Services
When you select an in-network attorney, you can consult with that attorney any number of times for a variety of
personal legal services, including:
    •   consumer protection matters,
                                                                                                                     76

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 77 of 87          Document 1-2
    •   debt matters,
    •   document review,
    •   family law,
    •   real estate matters,
    •   traffic/criminal matters, and
    •   wills, living trusts and estate planning.
For a full list of covered services, contact MetLife Legal Plans at 1-800-821-6400.

What’s Not Covered
Any business-related matter (including rental property) and issues related to your employer are not covered
under the Plan. In addition, appeals, class action suits, any matter involving MetLife Legal Plans or a Plan
Attorney and any matter where a spouse or dependent's interests may conflict with yours are not covered. The
Plan does not cover third-party costs.
Coverage is not available if you are currently receiving or have received legal services prior to enrollment.




                                                                                                                77

        Case 2:24-cv-00807-NJ               Filed 06/28/24        Page 78 of 87          Document 1-2
Life Events
Changes to your benefits due to any of the Life Events listed below must be made within 30 days of the
Qualifying Life Event. You can make changes to your benefit elections on the Benefit Enrollment System.

 YOU'RE MOVING
 Step 1    Update your personal information.
 Step 2    Go to the Benefit Enrollment System to confirm that your current medical option is still available
           based on your new ZIP code. Changes to your medical coverage will only be allowed if you are
           moving to a ZIP code in which your current medical option is not available.
 YOU'RE HAVING OR ADOPTING A CHILD
 Step 1    Add your child to your Labcorp medical, no charge laboratory testing, dental and/or vision
           coverage through the Benefit Enrollment System or by calling PeopleCare at 1-888-800-4002, 8
           a.m. to 8 p.m. ET, Monday - Friday.
 Step 2    Enroll in Optional Life, Dependent Life and/or Optional Accidental Death and Dismemberment
           (AD&D) Insurance or change your current coverage amounts.
 Step 3    Enroll in or change contributions to your Flexible Spending Accounts (FSAs).
 YOU'RE GETTING MARRIED
 Step 1    Add your spouse to your Labcorp medical, no charge laboratory testing, dental and/or vision
           coverage through the Benefit Enrollment System or by calling PeopleCare at 1-888-800-4002, 8
           a.m. to 8 p.m. ET, Monday - Friday.
 Step 2    Update your Life Insurance and LabCorp 401(k) Plan beneficiary information.
 Step 3    Add your dependents to your Labcorp medical, no charge laboratory testing, dental and/or vision
           coverage.
 Step 4    Enroll in Optional Life, Dependent Life and/or Optional Accidental Death and Dismemberment
           (AD&D) Insurance or change your current coverage amounts
 Step 5    Enroll in or change contributions to your Flexible Spending Accounts (FSAs).
 Step 6    Stop medical, dental, vision and/or Life Insurance coverage for yourself and/or your dependents if
           you are enrolling for benefits through your spouse's employer.
 YOU'RE LEGALLY SEPARATED OR GETTING DIVORCED
 Step 1    Remove your spouse from your Labcorp medical, no charge laboratory testing, dental
           and/or vision coverage through the Benefit Enrollment System or by calling PeopleCare at 1-
           888-800-4002, 8 a.m. to 8 p.m. ET, Monday - Friday. The dependent may be eligible for COBRA
           continuation coverage.
 Step 2    Remove any dependent children, if they are gaining coverage through your former spouse, from
           your Labcorp medical, dental and/or vision coverage through the Benefit Enrollment System or
           by calling PeopleCare at 1-888-800-4002, 8 a.m. to 8 p.m. ET, Monday - Friday. Your dependent
           children may be eligible for COBRA continuation coverage.
 Step 3    Stop contributing to or decrease contributions to Flexible Spending Accounts (FSAs), if you are
           currently contributing.
 Step 4    Stop participation in Dependent Life and Optional Accidental Death and Dismemberment (AD&D)
           Insurance. You may wish to continue your dependent children's coverage if they are not gaining
           coverage under your spouse's employer.
 Step 5    Update your Life Insurance and Labcorp 401(k) Plan beneficiary information.




                                                                                                                78

       Case 2:24-cv-00807-NJ             Filed 06/28/24         Page 79 of 87         Document 1-2
YOU OR A DEPENDENT DIE(S)
You Die
Step 1    Your beneficiary should contact PeopleCare at 1-888-800-4002, 8 a.m. to 8 p.m. ET, Monday -
          Friday.
Step 2    File a claim for Life Insurance and Optional Accidental Death and Dismemberment (AD&D)
          Insurance.
Step 3    Enroll for COBRA health continuation coverage. Your dependents receive COBRA coverage at no
          cost for the first 6 months following your death —provided they were enrolled in Labcorp medical,
          dental and/or vision coverage at the time of your death.
Your Dependent Dies
Step 1    Remove your dependent from your Labcorp medical, no charge laboratory testing, dental and/or
          vision coverage through the Benefit Enrollment System or by calling PeopleCare at 1-888-800-
          4002, 8 a.m. to 8 p.m. ET, Monday - Friday.
Step 2    Update your Life Insurance and Labcorp 401(k) Plan beneficiary information.
Step 3    File a claim for Dependent Life Insurance.
Step 4    Remove your dependent from your Dependent Life and/or Optional AD&D Insurance coverage or
          change coverage amounts.
Step 5    Stop contributing to or decrease contributions to your Flexible Spending Accounts (FSAs), if you
          are currently contributing.
OTHER SITUATIONS
Your Dependent No Longer Meets the Age or Dependent Status Requirement
Step 1    Remove your dependent from your Labcorp medical, no charge laboratory testing, dental and/or
          vision coverage through the Benefit Enrollment System or by calling PeopleCare at
          1-888-800-4002, 8 a.m. to 8 p.m. ET, Monday - Friday. The dependent may be eligible
          for COBRA health continuation coverage.
Step 2    Stop contributing to or decrease contributions to your Flexible Spending Accounts (FSAs), if you
          are currently contributing.
Your Spouse/Domestic Partner's Eligibility for Coverage Changes
Step 1    Update your personal information through the Benefit Enrollment System or by calling
          PeopleCare at 1-888-800-4002, 8 a.m. to 8 p.m. ET, Monday - Friday. Add your dependents to
          your Labcorp coverage if your spouse/domestic partner loses coverage under his or her employer
          or another plan. If you waived your Labcorp coverage because you were covered under your
          spouse/domestic partner's employer, you may enroll yourself and your dependents in Personal
          Choice benefits.
Step 2    Drop your and your dependents' Personal Choice coverage if your spouse/domestic partner (and
          you and your dependents) becomes eligible for coverage under your spouse/domestic partner's
          employer.




                                                                                                              79

     Case 2:24-cv-00807-NJ              Filed 06/28/24        Page 80 of 87         Document 1-2
Plan Administration
This information is part of your Personal Choice Benefits Handbook for 2023, which constitutes the summary
plan description (SPD) for the Labcorp health and welfare and retirement plans offered through the Labcorp
Personal Choice Benefits Program subject to the Employee Retirement Income Security Act of 1974 (ERISA),
the federal law that governs certain employee benefit plans. The Handbook provides only a summary of the
plans as in effect on January 1, 2023 for employees of Labcorp on or after January 1, 2023. In the event of any
conflict between information contained in this Handbook and the official Plan documents, the official Plan
documents govern.
This Handbook does not establish enforceable employee rights, contractual or otherwise, and does not
establish an employment relationship enforceable by employees. The provisions of the Handbook do not
constitute a contract and are subject to change at any time without notice (except as otherwise required by
law). Nothing in this Handbook or any other publication from Labcorp shall interfere with or limit in any way the
right of Labcorp to terminate any employee’s employment without cause or notice at any time, confer upon any
employee any right to continue employment with Labcorp, or change an employee’s existing at-will employment
status. You remain an employee at-will, which status may be changed only by an authorized Labcorp
representative in writing.
Labcorp reserves the right to change, suspend or terminate any benefits and any plan at any time. The
information in this 2023 Handbook supersedes and replaces all prior summary plan descriptions, program
summaries, communications, whether oral or written, or other information relating to the plans, benefits and
programs. Separate summary plan descriptions describe the provisions of the Medical Plan applicable to other
groups of employees.


Plan Administration
This section of Your Personal Choice Benefits Handbook contains information on the administration and
funding of your Labcorp benefit plans, as well as your rights as a plan participant. While you may not need this
information on a daily basis, it's important to understand your rights and the procedures you need to follow
when certain situations arise.


Administrative Information
Plan Year
The Plan Year is each January 1 to December 31.

Plan Administrator/Sponsor
The Plan Sponsor for all plans is:
Laboratory Corporation of America Holdings
Attn: Corporate Benefits
531 South Spring Street
Burlington, NC 27215
1-336-222-7566
Laboratory Corporation of America Holdings is also the plan administrator for the Labcorp benefit plans.
As plan administrator, Labcorp has the sole discretionary authority to interpret and apply the terms of each of
the plans and to determine all claims for benefits. In the case of certain insured plans, the plan administrator
has delegated its authority to interpret and apply plan terms, and determine benefits claims, to one or more
individuals and/or to a claims administrator. The decisions of the plan administrator or claims administrator (as
the case may be) are final and binding on all persons and may not be overturned absent an abuse of
discretion. The chart in the section “Plan Information” shows the names and addresses of the claims
administrators appointed for various plans.

                                                                                                                    80

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 81 of 87         Document 1-2
Labcorp's Employer Identification Number (EIN) assigned by the Internal Revenue Service (IRS) is 13-
3757370.

Agent for Service of Legal Process
The agent for service of legal process for all plans is:
General Counsel, Law Department
Laboratory Corporation of America Holdings
531 South Spring Street
Burlington, NC 27215
Legal process can also be served on the plan administrator or respective claims administrators for the welfare
plans or on the trustees or plan administrator for the Employees' Retirement Savings Plan or the Cash Balance
Retirement Plan. The addresses can be found in the "Plan Information" section.

Plan Affiliates
Labcorp benefit programs cover all regular full-time and regular part-time employees who are eligible for
benefits within Laboratory Corporation of America Holdings (and all of its participating affiliates) and Laboratory
Corporation of America.

Future of Plans
Although Labcorp expects to continue its employee benefit plans, it reserves the right to change or discontinue,
at any time, any part or all of the benefit coverage described in this Personal Choice Benefits Handbook.
Labcorp also reserves the right to increase or decrease any employee contributions for plan coverage or to
require contributions for any coverage that currently is non-contributory.
Labcorp's decision to change or end the plans may be due to changes in federal or state law governing welfare
or retirement benefits, the requirements of the Internal Revenue Code or ERISA, the provisions of a contract or
a policy involving an insurance company or any other reason. If Labcorp modifies or terminates a plan, it may
decide to set up a new plan providing different, similar or identical benefits, but it is not obligated to do so.
Certain benefits provided by the Labcorp 401(k) Plan and Cash Balance Retirement Plan may only be
eliminated on a prospective basis. Also, upon the complete termination of either the Labcorp 401(k) Plan or
Cash Balance Retirement Plan, you will become 100% vested in your accrued benefit in the terminated Plan.
Upon a partial termination of either Plan, if the partial termination affects you, you will become 100% vested in
your accrued benefit in the partially terminated Plan.
Upon the complete termination of the Cash Balance Retirement Plan, the Plan assets will be distributed in
accordance with ERISA. Upon the complete termination of the Labcorp 401(k) Plan, the Plan assets will be
distributed in the same manner as the assets would otherwise be distributed (upon separation from service,
etc.) unless the Plan termination amendment provides otherwise. Upon the complete termination of a welfare
plan, generally all claims incurred prior to the termination date will be paid.
Plan participants and beneficiaries have no vested rights in any plan or program other than in their vested
accrued benefits in the Labcorp 401(k) Plan and Cash Balance Retirement Plan; in particular, no vested rights
arise in those benefits currently made available to retirees after employment ends.

Legal Limitations
Government rules limit the total benefits payable to highly compensated employees under Labcorp's qualified
retirement and savings plans. Government rules may also require that under certain circumstances, highly
compensated employees and/or key employees must be prohibited from participating in plans permitting
employees to participate on a before-tax basis in medical, dental or vision plans or to contribute to FSAs. You
would be notified if your benefits ever were affected by these rules.




                                                                                                                      81

        Case 2:24-cv-00807-NJ               Filed 06/28/24        Page 82 of 87          Document 1-2
Plan Information
Administrative information for Labcorp's group benefit plans subject to ERISA is shown below.

WELFARE PLANS
Formal Plan Name              Plan   Insured By            Claim Administered By        Contributions and
                              No.                                                       Funding
Laboratory Corporation        510    Combination of       See below                     See below
of America Holdings                  Labcorp (self-
Group Benefits Plan                  insured) and insured
Laboratory Corporation        510    Labcorp (self-        Aetna, Inc.                  Unfunded; Labcorp
of America Holdings                  insured)              151 Farmington Ave.          and participant
Medical Benefit Plan                                       Hartford, CT 06156           contributions;
                                                           1-800-223-7331
                                                                                     Participant portion is paid
                                                           BCBS                      before-tax
                                                           BlueCross BlueShield P.O.
                                                           Box 100121 Columbia,
                                                           South Carolina 29202
                                                           1-877-275-9787
                                                           Cigna
                                                           7555 Goodwin Road
                                                           Chattanooga, TN 37421
                                                           1-800-854-7315

                                                           UnitedHealthcare
                                                           PO Box 30432
                                                           Salt Lake City, UT 84130-
                                                           0432
                                                           1-800-830-1501

                                                           OptumRx
                                                           2300 Main Street
                                                           Irvine, CA 92614-9731
                                                           1-888-691-0169

                                                           Optum RX Specialty
                                                           Pharmacy
                                                           855-427-4682
Laboratory Corporation        510    Labcorp (self-        Labcorp                      Self-funded; Labcorp pays all
of America Holdings No               insured)              531 S. Spring St.            costs
Charge Laboratory                                          Burlington, NC 27215
Testing Benefit
Laboratory Corporation        510    Labcorp (self-        Cigna Dental Claims          Unfunded; Labcorp and
of America Holdings                  insured)              PO Box 188037                participant contributions;
Dental Plan                                                800-854-7315

WELFARE PLANS
Formal Plan Name              Plan   Insured By            Claim Administered By        Contributions and
                              No.                                                       Funding
                                                           Chattanooga, TN, 37422       participant portion is before-
                                                           1-800-854-7315               tax
Laboratory Corporation        510    Vision Service Plan   Vision Service Plan          Insured;
of America                                                 PO Box 385020                Participant contributions made
Holdings Vision Plan                                       Birmingham, AL 35238         on a before- tax basis
                                                           1-800-877-7195

                                                                                                                82

       Case 2:24-cv-00807-NJ             Filed 06/28/24         Page 83 of 87          Document 1-2
Laboratory Corporation         510    Labcorp (self-         OPTUM FINANCIAL               Unfunded; Participant
of America Holdings                   insured)               11405 Bluegrass Parkway       contributions made on a
Medical Expense                                              Louisville, KY 40299          before- tax basis
Reimbursement Plan                                           1-888-800-4002
Laboratory Corporation         510    Alight                 Alight                        Self-funded; Labcorp pays all
of America Holdings                                          PO Box 6248                   costs
Short Term Disability                                        Broomfield, CO 80021
Plan                                                         1-844-391-6668

Laboratory Corporation         510    New York Life          New York Life Benefits        Insured; Labcorp and
of America Holdings                   Benefits Solutions     Solutions                     participants pay premiums;
Long Term Disability                                         1-800-644-5567                participant portion is pre-tax
Plan

Laboratory Corporation         510    MetLife                MetLife                       Insured; Labcorp and
of America Holdings Life                                     200 Park Avenue               participants pay premiums;
Insurance Plan                                               New York, NY 10166            participant portion is after-tax
                                                             1-800-638-6420
Laboratory Corporation         510    MetLife Legal Plans 1-800-821-6400                   Insured; Participant pays all
of America Holdings                                                                        premiums
Legal Assistance Plan
TELUS Health                   510    TELUS Health           1-888-319-0755                Self-funded; Labcorp pays all
(counseling only)                                                                          costs



Address Changes
You should notify your local Human Resources Department in writing of any change of address so benefit
payments can be sent to you or to your spouse or other beneficiary. This is especially true if payments are to
be postponed until a later date.

Inability to Receive Payment
If you cannot receive benefit payments yourself because of physical or mental disability and if there is no one
officially in charge of your affairs, Labcorp will send payments to the person or persons taking care of you after
acceptable evidence of such arrangement is presented.

Assignment of Benefits
You cannot assign the benefits you have earned under the Labcorp benefit plans to pay a debt or to satisfy
claims of bankruptcy or creditors. However, your benefits can be paid to a spouse, former spouse, child or
other dependent if a court issues a domestic relations order requiring it, and if the Plan deems that order to be
qualified.
If you become legally separated or divorced, a portion of all your benefits under the Labcorp retirement plans
may be assigned to someone else to satisfy a legal obligation you may have to a spouse, former spouse, child
or other dependent.
You may also be required to provide group health coverage to one or more of your children pursuant to a
qualified medical child support order. Participants and beneficiaries may obtain, without charge, from the plan
administrator a copy of the procedure used to determine if a medical child support order is qualified.

Qualified Domestic Relations Order
Federal law prohibits assignment or attachment of your retirement benefits, except under a Qualified Domestic
Relations Order (QDRO). A QDRO is a court order, issued in connection with a divorce or family support

                                                                                                                     83

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 84 of 87          Document 1-2
proceeding, which orders the plan to pay benefits to someone other than you and which meets certain
standards established under the Internal Revenue Code. Labcorp must comply with these court orders, and
any such payment will not violate the rule of non-assignability of benefits.
The plan administrator may be required to begin making payments from your savings and/or retirement plan
accounts while you're still working. These payments could even exhaust the total value of these accounts. The
plan administrator has no discretion in these matters.
Each domestic relations order attempting to effect assets in an ERISA plan must meet certain qualification
requirements. Labcorp reviews all QDROs to determine whether they are qualified under ERISA.
Participants and beneficiaries may obtain, without charge, a copy of the QDRO procedures from the Plan
Administrator.


Claims Procedure
Filing a Claim
If you (or your beneficiary) feel you are entitled to benefits from a plan that you are not receiving, you may file a
written claim with the claims administrator or plan administrator in accordance with a plan's specific claim filing
procedures. The claims procedures applicable to each group health plan are included in the Medical Plan
section. The claims procedures for certain insured benefits are described in each applicable section. Where
specific claims procedures are not described in a specific section of this Handbook, the following procedures
apply.

Notification of Your Claim
You will receive a response to your claim from the claims administrator or administrative committee within 90
days after your claim is submitted. This time limit may be extended for another 90 days in special cases. You
will be contacted if this is going to occur. This notice will explain why extra time is required and the date you
can expect a decision.

Claim Denial
If all or part of your claim is denied, you will receive written notification explaining the reasons for the denial and
appropriate information about the plan's claims review procedures.

Appealing a Denied Claim
If your claim is denied and you wish to appeal, you must file your appeal with the claims administrator within 60
days (180 days in the case of disability benefit claims) of the date of the denial notice. Your appeal should
include any additional information that you wish to be considered. If you fail to appeal within the required time
period, you are considered to have permanently waived and abandoned your claim and you may not reassert it
in a court or any other venue.
The claims administrator will notify you in writing within 60 days (or 120 days in some cases) after your appeal
is received. This decision will be final and will be communicated to you in writing.
The claims procedures for certain of the Company's plans may contain different time frames than those
provided above. You may obtain a copy of each plan's claims procedures, without charge, upon request.
Unless you have exhausted your rights under a plan's claims procedure, generally you may not file a lawsuit
against the plan for benefits. You must bring a lawsuit for benefits no later than one year after the final decision
on your claim under these claims procedures. If you fail to file a lawsuit within the required time period, you are
considered to have permanently waived and abandoned your claim and you may not reassert it in a court or
any other venue.




                                                                                                                        84

        Case 2:24-cv-00807-NJ                Filed 06/28/24         Page 85 of 87           Document 1-2
Your Rights Under ERISA
As a participant in an ERISA- covered plan, you are entitled to certain rights and protections under the
Employee Retirement Income Security Act of 1974 (ERISA). ERISA provides that all participants shall be
entitled to:

•   receive information about your plans and benefits.
•   examine, without charge, at the plan administrator's office and at other specified locations (such as work
    sites and union halls), all plan documents governing the plan, including insurance contracts and collective
    bargaining agreements, and a copy of the latest annual report (Form 5500 Series) filed by the plan with the
    U.S. Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
    Administration.
•   obtain, upon written request to the plan administrator, copies of documents governing the operation of the
    plan, including insurance contracts and collective bargaining agreements, and copies of the latest annual
    report (Form 5500 Series) and updated summary plan description. The plan administrator may make a
    reasonable charge for the copies.
•   receive a summary of the plan's annual financial report. The plan administrator is required by law to furnish
    each participant with a copy of the summary annual report for each welfare plan and the Labcorp
    Employees' Retirement Savings Plan. For the Labcorp Cash Balance Retirement Plan, an annual funding
    statement is provided.
•   obtain a statement telling you whether you have a right to receive a pension at normal retirement age and if
    so, what your benefits would be at normal retirement age if you stop working under the plan now. If you do
    not have a right to a pension, the statement will tell you how many more years you must work to get a right
    to a pension. This statement must be requested in writing and is not required to be given more than once
    every 12 months. The plan must provide the statement free of charge.
•   continue health care coverage for yourself, your spouse, or your dependents if there is a loss of coverage
    under a group health plan as a result of a qualifying event. You or your dependents may have to pay for
    such coverage. Review this summary plan description and the documents governing the plan on the rules
    governing your COBRA continuation coverage rights.

ERISA Duties
In addition to creating rights for plan participants, ERISA imposes duties upon the people who are responsible
for operation of the plan. The people who operate your plans, called “fiduciaries” of the plans, have a duty to do
so prudently and in the interest of you and other plan participants and beneficiaries.
No one, including your employer, your union, or any other person, may fire you or otherwise discriminate
against you in any way to prevent you from obtaining a benefit under any Labcorp plan or for exercising your
rights under ERISA. If your claim for benefits is denied or ignored, in whole or in part, you have a right to know
why this was done, to obtain copies of documents relating to the decision without charge, and to appeal any
denial, all within certain time schedules.

Enforcing Your Rights
Under ERISA, there are steps you can take to enforce your rights. For instance, if you request a copy of plan
documents or the latest annual report from the plan and do not receive them within 30 days, you may file suit in
a federal court. In such a case, the court may require the Plan Administrator to provide the materials and pay
you up to $110 a day until you receive the materials, unless the materials were not sent because of reasons
beyond the control of the administrator.
If you have a claim for benefits which is denied or ignored, in whole or in part, you may file suit in a state or
federal court once you have exhausted the plan’s internal claims procedures. In addition, if you disagree with
the plan's decision or lack thereof concerning the qualified status of a domestic relations order or a medical
child support order, you may file suit in federal court.
If it should happen that plan fiduciaries misuse a plan's money, or if you are discriminated against for asserting
your rights, you may seek assistance from the U.S. Department of Labor, or you may file suit in a federal court.

                                                                                                                     85

        Case 2:24-cv-00807-NJ              Filed 06/28/24         Page 86 of 87          Document 1-2
The court will decide who should pay court costs and legal fees. If you are successful, the court may order the
other party to pay these costs and fees. If you lose, the court may order you to pay these costs and fees, for
example, if it finds your claim is frivolous.
If you have any questions about the plans described in this Benefits Handbook, you should contact the Plan
Administrator. If you have any questions about this statement or about your rights under ERISA, or if you need
assistance in obtaining documents from the Plan Administrator, you should contact the nearest office of the
Employee Benefits Security Administration, U.S. Department of Labor, listed in your telephone directory or at
the following address:
Division of Technical Assistance and Inquiries
Employee Benefits Security Administration
U.S. Department of Labor
200 Constitution Avenue N.W.
Washington, D.C. 20210
You may also obtain certain publications about your rights and responsibilities under ERISA by calling the
publications hotline of the Employee Benefits Security Administration.
Group health plans and health insurance issuers generally may not, under federal law, restrict benefits for any
hospital length of stay in connection with childbirth for the mother or newborn child to less than 48 hours
following a vaginal delivery, or less than 96 hours following a cesarean section. However, federal law generally
does not prohibit a mother's or newborn's attending provider, after consulting with the mother, from discharging
the mother and her newborn earlier than 48 hours (or 96 hours if applicable). In any case, plans and issuers
may not, under federal law, require that a provider obtain authorization from the plan or the insurance issuer for
prescribing a length of stay not more than 48 hours (or 96 hours).




                                                                                                                     86

        Case 2:24-cv-00807-NJ              Filed 06/28/24        Page 87 of 87          Document 1-2
